     Case 3:17-cv-00939-WHA Document 2701 Filed 06/03/19 Page 1 of 5



 1   [COUNSEL LISTED ON SIGNATURE PAGE]
 2

 3

 4

 5

 6

 7

 8

 9

10                             UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                SAN FRANCISCO DIVISION

13   WAYMO LLC,                                  CASE NO. 3:17-cv-00939-WHA
14               Plaintiff,                      FIFTH JOINT STIPULATION AND
                                                 [PROPOSED] ORDER TO EXTEND
15         vs.                                   THE DEADLINE UNDER
                                                 PARAGRAPH 15 OF THE INTERIM
16   UBER TECHNOLOGIES, INC. and                 MODEL PROTECTIVE ORDER
     OTTOMOTTO LLC,
17
                 Defendants.
18

19

20

21

22

23

24

25

26

27
28

        FIFTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
      Case 3:17-cv-00939-WHA Document 2701 Filed 06/03/19 Page 2 of 5



 1
             Pursuant to Civil Local Rules 6-1(b) and 6-2(a), and upon the accompanying declaration of
 2
     Meredith R. Dearborn, dated June 2, 2019 (“Dearborn Decl.”), Plaintiff Waymo LLC and
 3
     Defendants Uber Technologies, Inc. and Ottomotto LLC hereby stipulate and agree to the following
 4
     one-hundred-and-twenty-day extension, from June 6, 2019 until October 4, 2019, of the deadline
 5
     to comply with the requirements of Paragraph 15 of the Interim Model Protective Order:
 6
             1.      On March 16, 2017, the Court ordered that the parties be bound by the Interim
 7
     Model Protective Order (the “Protective Order”), a true and correct copy of which is attached as
 8
     Exhibit A to the accompanying declaration of Meredith R. Dearborn. See Dearborn Decl. ¶ 3.
 9
             2.      Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the final
10
     disposition of this action, as defined in paragraph 4, each Receiving Party must return all Protected
11
     Material to the Producing Party or destroy such material,” and further requires each Receiving Party
12
     to certify in writing by the 60-day deadline (1) that all of the material subject to the Protective Order
13
     was returned or destroyed, and (2) that it has not retained copies, abstracts, compilations, or
14
     summaries of material subject to the Protective Order. See Dearborn Decl., ¶ 4 and Ex. A.
15
             3.      The parties settled this lawsuit, and a final disposition was entered on February 9,
16
     2018. See Dearborn Decl. ¶ 5.
17
             4.      Each Receiving Party, as defined by Paragraph 2.17 of the Protective Order, had
18
     sixty days from that final disposition, until April 10, 2018, to comply with the requirements of
19
     Paragraph 15. See Dearborn Decl. ¶ 5 and Ex. A.
20
             5.      On April 6, 2018, the parties filed a stipulation and proposed order extending the
21
     deadline to comply with Paragraph 15 until June 11, 2018, citing the pendency of related matters
22
     that impose document preservation obligations on the parties that conflict with Paragraph 15’s
23
     requirements. See Dearborn Decl. ¶ 6. The parties further indicated that they “might hereafter
24
     request additional time if those obligations have not been satisfied.” Id.
25
             6.      The Court approved the stipulation and signed the proposed order on April 9, 2018.
26
     See Dearborn Decl. ¶ 7 and Ex. B.
27
28
                                                 1
        FIFTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
      Case 3:17-cv-00939-WHA Document 2701 Filed 06/03/19 Page 3 of 5



 1
            7.      On June 7, 2018, the parties filed a second stipulation and proposed order extending
 2
     the deadline to comply with Paragraph 15 for another 120 days, until October 9, 2018. See
 3
     Dearborn Decl. ¶ 8.
 4
            8.      The Court approved the stipulation and entered the proposed order on June 11, 2018.
 5
     See Dearborn Decl. ¶ 8 and Ex. C.
 6
            9.      On October 9, 2018, the parties filed a third stipulation and proposed order
 7
     extending the deadline to comply with Paragraph 15 for another 120 days, until February 6, 2019.
 8
     See Dearborn Decl. ¶ 8.
 9
            10.     The Court approved the stipulation and entered the proposed order on October 9,
10
     2018. See Dearborn Decl. ¶ 9 and Ex. D.
11
            11.     On February 4, 2019, the parties filed a fourth stipulation and proposed order
12
     extending the deadline to comply with Paragraph 15 for another 120 days, until June 6, 2019. See
13
     Dearborn Decl. ¶ 10 and Exhibit E.
14
            12.     The Court approved the stipulation and entered the proposed order on February 5,
15
     2019. See Dearborn Decl. ¶ 10 and Exhibit E.
16
            13.     The parties agree that additional time is still needed to satisfy conflicting
17
     preservation obligations, and that the parties may still hereafter request additional time if those
18
     obligations have not been satisfied. See Dearborn Decl. ¶ 11.
19

20

21
            IT IS SO STIPULATED
22

23
     DATED: June 3, 2019                  QUINN EMANUEL URQUHART & SULLIVAN LLP
24

25                                        By:     /s/ David A. Perlson
                                                  David A. Perlson
26                                                Attorneys for Plaintiff WAYMO LLC
27
28
                                                 2
        FIFTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
     Case 3:17-cv-00939-WHA Document 2701 Filed 06/03/19 Page 4 of 5



 1   DATED: June 3, 2019               BOIES SCHILLER FLEXNER LLP
 2

 3                                     By:   /s/ Meredith R. Dearborn
                                             Meredith R. Dearborn
 4                                           Attorneys for Defendants UBER TECHNOLOGIES,
                                             INC. and OTTOMOTTO LLC
 5

 6

 7

 8   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 9
     DATED:                   , 2019
10                                                 The Honorable William Alsup

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                3
       FIFTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
      Case 3:17-cv-00939-WHA Document 2701 Filed 06/03/19 Page 5 of 5



 1
                                     SIGNATURE ATTESTATION
 2
            Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
 3
     filing of this document has been obtained from any other signatory to this document.
 4

 5
     DATED: June 3, 2019                          By: /s/ Meredith R. Dearborn
 6                                                    Meredith R. Dearborn
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                 4
        FIFTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
        Case 3:17-cv-00939-WHA Document 2701-1 Filed 06/03/19 Page 1 of 3



 1   MICHAEL A. JACOBS (CA SBN 111664)
     mjacobs@mofo.com
 2   ARTURO J. GONZÁLEZ (CA SBN 121490)
     agonzalez@mofo.com
 3   MORRISON & FOERSTER LLP
     425 Market Street
 4   San Francisco, California 94105-2482
     Tel: 415.268.7000 / Fax: 415.268.7522
 5
     KAREN L. DUNN (Pro Hac Vice)
 6   kdunn@bsfllp.com
     HAMISH P. M. HUME (Pro Hac Vice)
 7   hhume@bsfllp.com
     BOIES SCHILLER FLEXNER LLP
 8   1401 New York Avenue, N.W.
     Washington, D.C. 20005
 9   Tel: 202.237.2727 / Fax: 202.237.6131
10   WILLIAM C. CARMODY (Pro Hac Vice)
     bcarmody@susmangodfrey.com
11   SHAWN J. RABIN (Pro Hac Vice)
     srabin@susmangodfrey.com
12   SUSMAN GODFREY LLP
     1301 Avenue of the Americas, 32nd Floor
13   New York, New York 10019
     Tel: 212.336.8330 / Fax: 212.336.8340
14
     Attorneys for Defendants
15   UBER TECHNOLOGIES, INC.
     and OTTOMOTTO LLC
16
17
                                 UNITED STATES DISTRICT COURT
18
                                NORTHERN DISTRICT OF CALIFORNIA
19
                                    SAN FRANCISCO DIVISION
20

21
      WAYMO LLC,                                  CASE NO. 3:17-cv-00939-WHA
22
                   Plaintiff,                     DECLARATION OF MEREDITH R.
23                                                DEARBORN PURSUANT TO CIVIL
            vs.                                   LOCAL RULE 6-2(a)
24
      UBER TECHNOLOGIES, INC. and
25    OTTOMOTTO LLC,

26                 Defendants.

27

28

         DEARBORN DECL. ISO FIFTH JOINT STIPULATION TO EXTEND PROTECTIVE ORDER DEADLINE
                                    CASE NO. 3:17-CV-00939-WHA
           Case 3:17-cv-00939-WHA Document 2701-1 Filed 06/03/19 Page 2 of 3



 1
              I, MEREDITH R. DEARBORN, declare as follows:
 2
              1.    I am a partner with the law firm Boies Schiller Flexner LLP, representing
 3
     Defendants Uber Technologies, Inc. and Ottomotto LLC in this matter. I am a member in good
 4
     standing of the Bar of the State of California.
 5
              2.    I make this declaration in support of the parties’ fifth joint application to extend the
 6
     deadline to return or destroy evidence imposed by Paragraph 15 of the Interim Model Protective
 7
     Order.
 8
              3.    On March 16, 2017, the Honorable William Alsup ordered that the parties be bound
 9
     by the Court’s Interim Model Protective Order (the “Protective Order”), a true and correct copy of
10
     which is attached as Exhibit A. See Waymo LLC v. Uber Technologies, Inc., et al., 17-cv-00939-
11
     WHA, Doc. 63 at 6:22–24.
12
              4.    Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the final
13
     disposition of this action, as defined in paragraph 4, each Receiving Party must return all Protected
14
     Material to the Producing Party or destroy such material.” Protective Order ¶ 15. The Protective
15
     Order further requires each Receiving Party to certify in writing by the 60-day deadline (1) that all
16
     of the material subject to the Protective Order was returned or destroyed, and (2) that it has not
17
     retained copies, abstracts, compilations, or summaries of material subject to the Protective Order.
18
     Id.
19
              5.    The parties settled this lawsuit, and a final disposition was entered on February 9,
20
     2018. See Waymo v. Uber, Doc. No. 2650. Each Receiving Party, as defined by Paragraph 2.17
21
     of the Protective Order, had sixty days from that final disposition, until April 10, 2018, to comply
22
     with the requirements of Paragraph 15.
23
              6.    On April 6, 2018, the parties filed a stipulation and proposed order extending the
24
     deadline to comply with Paragraph 15 until June 11, 2018, citing the pendency of related matters
25
     that impose document preservation obligations on the parties that conflict with Paragraph 15’s
26
     requirements. The parties further indicated that they “might hereafter request additional time if
27
     those obligations have not been satisfied.”
28                                                      1
           DEARBORN DECL. ISO FIFTH JOINT STIPULATION TO EXTEND PROTECTIVE ORDER DEADLINE
                                      CASE NO. 3:17-CV-00939-WHA
         Case 3:17-cv-00939-WHA Document 2701-1 Filed 06/03/19 Page 3 of 3



 1
            7.      The Court approved the stipulation and entered the proposed order on April 9, 2018.
 2
     A true and correct copy of the April 9 Order is attached as Exhibit B.
 3
            8.      On June 7, 2018, the parties filed a second stipulation and proposed order extending
 4
     the deadline to comply with Paragraph 15 for another 120 days, until October 9, 2018. The Court
 5
     approved the stipulation and entered the proposed order on June 11, 2018. A true and correct copy
 6
     of the June 11 Order is attached as Exhibit C.
 7
            9.      On October 9, 2018, the parties filed a third stipulation and proposed order
 8
     extending the deadline to comply with Paragraph 15 for another 120 days, until February 6, 2019.
 9
     The Court approved the stipulation and entered the proposed order on October 9, 2018. A true and
10
     correct copy of the October 9 Order is attached as Exhibit D.
11
            10.     On February 4, 2019, the parties filed a fourth stipulation and proposed order
12
     extending the deadline to comply with Paragraph 15 for another 120 days, until June 6, 2019. The
13
     Court approved the stipulation and entered the proposed order on February 5, 2019. A true and
14
     correct copy of the February 5, 2019 Order is attached as Exhibit E.
15
            11.     Related matters that impose document preservation obligations on the parties that
16
     conflict with Paragraph 15’s requirements are still pending. The parties continue to anticipate that
17
     they may request additional time if those obligations have not been satisfied.
18
            12.     The parties stipulate and agree to another one-hundred-and-twenty-day extension
19
     of the deadline imposed under Paragraph 15 of the Protective Order.
20
            13.     This is the parties’ fifth request for an extension of the time limits imposed by the
21
     Protective Order.
22
            14.     The requested extension will affect no other deadlines in this case.
23
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
24
     correct.
25
            Executed on this 3rd day of June, 2019, in Oakland, California.
26
                                                        /s/ Meredith R. Dearborn
27                                                         Meredith R. Dearborn

28
                                                2
          DEARBORN DECL. ISO FIFTH JOINT STIPULATION TO EXTEND PROTECTIVE ORDER DEADLINE
                                    CASE NO 3:17-CV-00939-WHA
Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 1 of 19




                  EXHIBIT A
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 2 of 19



 1

 2

 3

 4

 5

 6

 7
                                        UNITED STATES DISTRICT COURT
 8
                                       NORTHERN DISTRICT OF CALIFORNIA
 9
10
                                                                Case No. C
11
                          Plaintiff,                            PATENT LOCAL RULE 2-2 INTERIM
12                                                              MODEL PROTECTIVE ORDER
             v.
13

14
                          Defendant.
15

16

17   1.      PURPOSES AND LIMITATIONS
18           Disclosure and discovery activity in this action are likely to involve production of confidential,
19   proprietary, or private information for which special protection from public disclosure and from use for
20   any purpose other than prosecuting this litigation may be warranted. This Order does not confer blanket
21   protections on all disclosures or responses to discovery and the protection it affords from public disclosure
22   and use extends only to the limited information or items that are entitled to confidential treatment under
23   the applicable legal principles. As set forth in Section 14.4 below, this Protective Order does not entitle the
24   Parties to file confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that
25   must be followed and the standards that will be applied when a party seeks permission from the court to
26   file material under seal.
27   2.      DEFINITIONS
28           2.1      Challenging Party: a Party or Non-Party that challenges the designation of information or
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 3 of 19



 1   items under this Order.
 2            2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is generated,
 3   stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil Procedure
 4   26(c).
 5            2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well as
 6   their support staff).
 7            2.4     Designated House Counsel: House Counsel who seek access to “HIGHLY
 8   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information in this matter.
 9            2.5     Designating Party: a Party or Non-Party that designates information or items that it
10   produces in disclosures or in responses to discovery as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL
11   – ATTORNEYS' EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
12            2.6     Disclosure or Discovery Material: all items or information, regardless of the medium or
13   manner in which it is generated, stored, or maintained (including, among other things, testimony,
14   transcripts, and tangible things), that are produced or generated in disclosures or responses to discovery in
15   this matter.
16            2.7     Expert: a person with specialized knowledge or experience in a matter pertinent to the
17   litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or as a
18   consultant in this action, (2) is not a past or current employee of a Party or of a Party's competitor, and (3)
19   at the time of retention, is not anticipated to become an employee of a Party or of a Party's competitor.
20            2.8     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:
21   extremely sensitive “Confidential Information or Items,” disclosure of which to another Party or Non-
22   Party would create a substantial risk of serious harm that could not be avoided by less restrictive means.
23            2.9     “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items: extremely
24   sensitive “Confidential Information or Items” representing computer code and associated comments and
25   revision histories, formulas, engineering specifications, or schematics that define or otherwise describe in
26   detail the algorithms or structure of software or hardware designs, disclosure of which to another Party or
27   Non-Party would create a substantial risk of serious harm that could not be avoided by less restrictive
28   means.

                                                                                                                    2
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 4 of 19



 1            2.10    House Counsel: attorneys who are employees of a party to this action. House Counsel
 2   does not include Outside Counsel of Record or any other outside counsel.
 3            2.11    Non-Party: any natural person, partnership, corporation, association, or other legal entity
 4   not named as a Party to this action.
 5            2.12    Outside Counsel of Record: attorneys who are not employees of a party to this action but
 6   are retained to represent or advise a party to this action and have appeared in this action on behalf of that
 7   party or are affiliated with a law firm which has appeared on behalf of that party.
 8            2.13    Party: any party to this action, including all of its officers, directors, employees,
 9   consultants, retained experts, and Outside Counsel of Record (and their support staffs).
10            2.14    Producing Party: a Party or Non-Party that produces Disclosure or Discovery Material in
11   this action.
12            2.15    Professional Vendors: persons or entities that provide litigation support services (e.g.,
13   photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing, storing, or
14   retrieving data in any form or medium) and their employees and subcontractors.
15            2.16    Protected Material: any Disclosure or Discovery Material that is designated as
16   “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY
17   CONFIDENTIAL – SOURCE CODE.”
18            2.17    Receiving Party: a Party that receives Disclosure or Discovery Material from a Producing
19   Party.
20   3.       SCOPE
21            The protections conferred by this Order cover not only Protected Material (as defined above), but
22   also (1) any information copied or extracted from Protected Material; (2) all copies, excerpts, summaries,
23   or compilations of Protected Material; and (3) any testimony, conversations, or presentations by Parties or
24   their Counsel that might reveal Protected Material. However, the protections conferred by this Order do
25   not cover the following information: (a) any information that is in the public domain at the time of
26   disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving
27   Party as a result of publication not involving a violation of this Order, including becoming part of the
28   public record through trial or otherwise; and (b) any information known to the Receiving Party prior to the

                                                                                                                     3
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 5 of 19



 1   disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the
 2   information lawfully and under no obligation of confidentiality to the Designating Party. Any use of
 3   Protected Material at trial shall be governed by a separate agreement or order.
 4   4.      DURATION
 5           Even after final disposition of this litigation, the confidentiality obligations imposed by this Order
 6   shall remain in effect until a Designating Party agrees otherwise in writing or a court order otherwise
 7   directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and defenses in this
 8   action, with or without prejudice; and (2) final judgment herein after the completion and exhaustion of all
 9   appeals, rehearings, remands, trials, or reviews of this action, including the time limits for filing any
10   motions or applications for extension of time pursuant to applicable law.
11   5.      DESIGNATING PROTECTED MATERIAL
12           5.1      Exercise of Restraint and Care in Designating Material for Protection. Each Party or Non-
13   Party that designates information or items for protection under this Order must take care to limit any such
14   designation to specific material that qualifies under the appropriate standards. To the extent it is practical
15   to do so, the Designating Party must designate for protection only those parts of material, documents,
16   items, or oral or written communications that qualify – so that other portions of the material, documents,
17   items, or communications for which protection is not warranted are not swept unjustifiably within the
18   ambit of this Order.
19           Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown to be
20   clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily encumber or
21   retard the case development process or to impose unnecessary expenses and burdens on other parties)
22   expose the Designating Party to sanctions.
23           If it comes to a Designating Party’s attention that information or items that it designated for
24   protection do not qualify for protection at all or do not qualify for the level of protection initially asserted,
25   that Designating Party must promptly notify all other Parties that it is withdrawing the mistaken
26   designation.
27           5.2      Manner and Timing of Designations. Except as otherwise provided in this Order (see, e.g.,
28   second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery

                                                                                                                      4
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 6 of 19



 1   Material that qualifies for protection under this Order must be clearly so designated before the material is
 2   disclosed or produced.
 3           Designation in conformity with this Order requires:
 4           (a) for information in documentary form (e.g., paper or electronic documents, but excluding
 5   transcripts of depositions or other pretrial or trial proceedings), that the Producing Party affix the legend
 6   “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY
 7   CONFIDENTIAL – SOURCE CODE” to each page that contains protected material. If only a portion or
 8   portions of the material on a page qualifies for protection, the Producing Party also must clearly identify
 9   the protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for each
10   portion, the level of protection being asserted.
11           A Party or Non-Party that makes original documents or materials available for inspection need not
12   designate them for protection until after the inspecting Party has indicated which material it would like
13   copied and produced. During the inspection and before the designation, all of the material made available
14   for inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the
15   inspecting Party has identified the documents it wants copied and produced, the Producing Party must
16   determine which documents, or portions thereof, qualify for protection under this Order. Then, before
17   producing the specified documents, the Producing Party must affix the appropriate legend
18   (“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY
19   CONFIDENTIAL – SOURCE CODE”) to each page that contains Protected Material. If only a portion or
20   portions of the material on a page qualifies for protection, the Producing Party also must clearly identify
21   the protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for each
22   portion, the level of protection being asserted.
23           (b) for testimony given in deposition or in other pretrial or trial proceedings, that the Designating
24   Party identify on the record, before the close of the deposition, hearing, or other proceeding, all protected
25   testimony and specify the level of protection being asserted. When it is impractical to identify separately
26   each portion of testimony that is entitled to protection and it appears that substantial portions of the
27   testimony may qualify for protection, the Designating Party may invoke on the record (before the
28   deposition, hearing, or other proceeding is concluded) a right to have up to 21 days to identify the specific

                                                                                                                     5
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 7 of 19



 1   portions of the testimony as to which protection is sought and to specify the level of protection being
 2   asserted. Only those portions of the testimony that are appropriately designated for protection within the
 3   21 days shall be covered by the provisions of this Protective Order. Alternatively, a Designating Party may
 4   specify, at the deposition or up to 21 days afterwards if that period is properly invoked, that the entire
 5   transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 6   ONLY.”
 7           Parties shall give the other parties notice if they reasonably expect a deposition, hearing, or other
 8   proceeding to include Protected Material so that the other parties can ensure that only authorized
 9   individuals who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present
10   at those proceedings. The use of a document as an exhibit at a deposition shall not in any way affect its
11   designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
12           Transcripts containing Protected Material shall have an obvious legend on the title page that the
13   transcript contains Protected Material, and the title page shall be followed by a list of all pages (including
14   line numbers as appropriate) that have been designated as Protected Material and the level of protection
15   being asserted by the Designating Party. The Designating Party shall inform the court reporter of these
16   requirements. Any transcript that is prepared before the expiration of a 21-day period for designation shall
17   be treated during that period as if it had been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
18   EYES ONLY” in its entirety unless otherwise agreed. After the expiration of that period, the transcript
19   shall be treated only as actually designated.
20           (c) for information produced in some form other than documentary and for any other tangible
21   items, that the Producing Party affix in a prominent place on the exterior of the container or containers in
22   which the information or item is stored the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
23   ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” If only a portion or
24   portions of the information or item warrant protection, the Producing Party, to the extent practicable, shall
25   identify the protected portion(s) and specify the level of protection being asserted.
26           5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to designate
27   qualified information or items does not, standing alone, waive the Designating Party’s right to secure
28   protection under this Order for such material. Upon timely correction of a designation, the Receiving Party

                                                                                                                      6
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 8 of 19



 1   must make reasonable efforts to assure that the material is treated in accordance with the provisions of this
 2   Order.
 3   6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 4             6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of
 5   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality designation
 6   is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens, or a significant
 7   disruption or delay of the litigation, a Party does not waive its right to challenge a confidentiality
 8   designation by electing not to mount a challenge promptly after the original designation is disclosed.
 9             6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution process by
10   providing written notice of each designation it is challenging and describing the basis for each challenge.
11   To avoid ambiguity as to whether a challenge has been made, the written notice must recite that the
12   challenge to confidentiality is being made in accordance with this specific paragraph of the Protective
13   Order. The parties shall attempt to resolve each challenge in good faith and must begin the process by
14   conferring directly (in voice to voice dialogue; other forms of communication are not sufficient) within 14
15   days of the date of service of notice. In conferring, the Challenging Party must explain the basis for its
16   belief that the confidentiality designation was not proper and must give the Designating Party an
17   opportunity to review the designated material, to reconsider the circumstances, and, if no change in
18   designation is offered, to explain the basis for the chosen designation. A Challenging Party may proceed to
19   the next stage of the challenge process only if it has engaged in this meet and confer process first or
20   establishes that the Designating Party is unwilling to participate in the meet and confer process in a timely
21   manner.
22             6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court intervention,
23   the Designating Party shall file and serve a motion to retain confidentiality under Civil Local Rule 7 (and
24   in compliance with Civil Local Rule 79-5, if applicable) within 21 days of the initial notice of challenge or
25   within 14 days of the parties agreeing that the meet and confer process will not resolve their dispute,
26   whichever is earlier. Each such motion must be accompanied by a competent declaration affirming that the
27   movant has complied with the meet and confer requirements imposed in the preceding paragraph. Failure
28   by the Designating Party to make such a motion including the required declaration within 21 days (or 14

                                                                                                                     7
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 9 of 19



 1   days, if applicable) shall automatically waive the confidentiality designation for each challenged
 2   designation. In addition, the Challenging Party may file a motion challenging a confidentiality designation
 3   at any time if there is good cause for doing so, including a challenge to the designation of a deposition
 4   transcript or any portions thereof. Any motion brought pursuant to this provision must be accompanied by
 5   a competent declaration affirming that the movant has complied with the meet and confer requirements
 6   imposed by the preceding paragraph.
 7           The burden of persuasion in any such challenge proceeding shall be on the Designating Party.
 8   Frivolous challenges and those made for an improper purpose (e.g., to harass or impose unnecessary
 9   expenses and burdens on other parties) may expose the Challenging Party to sanctions. Unless the
10   Designating Party has waived the confidentiality designation by failing to file a motion to retain
11   confidentiality as described above, all parties shall continue to afford the material in question the level of
12   protection to which it is entitled under the Producing Party’s designation until the court rules on the
13   challenge.
14   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
15           7.1       Basic Principles. A Receiving Party may use Protected Material that is disclosed or
16   produced by another Party or by a Non-Party in connection with this case only for prosecuting, defending,
17   or attempting to settle this litigation. Such Protected Material may be disclosed only to the categories of
18   persons and under the conditions described in this Order. When the litigation has been terminated, a
19   Receiving Party must comply with the provisions of section 15 below (FINAL DISPOSITION).
20           Protected Material must be stored and maintained by a Receiving Party at a location and in a
21   secure manner that ensures that access is limited to the persons authorized under this Order.
22           7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by the
23   court or permitted in writing by the Designating Party, a Receiving Party may disclose any information or
24   item designated “CONFIDENTIAL” only to:
25                 (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of
26   said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this
27   litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto
28   as Exhibit A;

                                                                                                                      8
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 10 of 19



 1                   (b) the officers, directors, and employees (including House Counsel) of the Receiving Party to
 2    whom disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment
 3    and Agreement to Be Bound” (Exhibit A);
 4                   (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is reasonably
 5    necessary for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
 6    (Exhibit A);
 7                   (d) the court and its personnel;
 8                   (e) court reporters and their staff, professional jury or trial consultants, and Professional
 9    Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
10    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11                   (f) during their depositions, witnesses in the action to whom disclosure is reasonably
12    necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
13    otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed deposition
14    testimony or exhibits to depositions that reveal Protected Material must be separately bound by the court
15    reporter and may not be disclosed to anyone except as permitted under this Protective Order.
16                   (g) the author or recipient of a document containing the information or a custodian or other
17    person who otherwise possessed or knew the information.
18            7.3        Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and
19    “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise ordered by the
20    court or permitted in writing by the Designating Party, a Receiving Party may disclose any information or
21    item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
22    CONFIDENTIAL – SOURCE CODE” only to:
23                   (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of
24    said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this
25    litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto
26    as Exhibit A;
27                   (b) Designated House Counsel of the Receiving Party (1) who has no involvement in
28    competitive decision-making, (2) to whom disclosure is reasonably necessary for this litigation, (3) who

                                                                                                                     9
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 11 of 19



 1    has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (4) as to whom the
 2    procedures set forth in paragraph 7.4(a)(1), below, have been followed;1
 3                 (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this
 4    litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3)
 5    as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed;
 6                 (d) the court and its personnel;
 7                 (e) court reporters and their staff, professional jury or trial consultants, and Professional
 8    Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
 9    “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
10                 (f) the author or recipient of a document containing the information or a custodian or other
11    person who otherwise possessed or knew the information.
12            7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL –
13    ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items
14    to Designated House Counsel or Experts.
15                 (a)(1) Unless otherwise ordered by the court or agreed to in writing by the Designating Party,
16    a Party that seeks to disclose to Designated House Counsel any information or item that has been
17    designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to paragraph 7.3(b)
18    first must make a written request to the Designating Party that (1) sets forth the full name of the
19    Designated House Counsel and the city and state of his or her residence and (2) describes the Designated
20    House Counsel’s current and reasonably foreseeable future primary job duties and responsibilities in
21    sufficient detail to determine if House Counsel is involved, or may become involved, in any competitive
22    decision-making.
23                 (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating Party,
24    a Party that seeks to disclose to an Expert (as defined in this Order) any information or item that has been
25    designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
26
27
      1
       This Order contemplates that Designated House Counsel shall not have access to any information or items
28    designated “HIGHLY CONFIDENTIAL – SOURCE CODE.”


                                                                                                                   10
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 12 of 19



 1    CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(c) first must make a written request to
 2    the Designating Party that (1) identifies the general categories of “HIGHLY CONFIDENTIAL –
 3    ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” information that the
 4    Receiving Party seeks permission to disclose to the Expert, (2) sets forth the full name of the Expert and
 5    the city and state of his or her primary residence, (3) attaches a copy of the Expert’s current resume, (4)
 6    identifies the Expert’s current employer(s), (5) identifies each person or entity from whom the Expert has
 7    received compensation or funding for work in his or her areas of expertise or to whom the expert has
 8    provided professional services, including in connection with a litigation, at any time during the preceding
 9    five years,2 and (6) identifies (by name and number of the case, filing date, and location of court) any
10    litigation in connection with which the Expert has offered expert testimony, including through a
11    declaration, report, or testimony at a deposition or trial, during the preceding five years.
12                 (b) A Party that makes a request and provides the information specified in the preceding
13    respective paragraphs may disclose the subject Protected Material to the identified Designated House
14    Counsel or Expert unless, within 14 days of delivering the request, the Party receives a written objection
15    from the Designating Party. Any such objection must set forth in detail the grounds on which it is based.
16                 (c) A Party that receives a timely written objection must meet and confer with the Designating
17    Party (through direct voice to voice dialogue) to try to resolve the matter by agreement within seven days
18    of the written objection. If no agreement is reached, the Party seeking to make the disclosure to Designated
19    House Counsel or the Expert may file a motion as provided in Civil Local Rule 7 (and in compliance with
20    Civil Local Rule 79-5, if applicable) seeking permission from the court to do so. Any such motion must
21    describe the circumstances with specificity, set forth in detail the reasons why disclosure to Designated
22    House Counsel or the Expert is reasonably necessary, assess the risk of harm that the disclosure would
23    entail, and suggest any additional means that could be used to reduce that risk. In addition, any such
24    motion must be accompanied by a competent declaration describing the parties’ efforts to resolve the
25

26
      2
        If the Expert believes any of this information is subject to a confidentiality obligation to a third-party, then the
27    Expert should provide whatever information the Expert believes can be disclosed without violating any
      confidentiality agreements, and the Party seeking to disclose to the Expert shall be available to meet and confer with
28    the Designating Party regarding any such engagement.


                                                                                                                          11
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 13 of 19



 1    matter by agreement (i.e., the extent and the content of the meet and confer discussions) and setting forth
 2    the reasons advanced by the Designating Party for its refusal to approve the disclosure.
 3                   In any such proceeding, the Party opposing disclosure to Designated House Counsel or the
 4    Expert shall bear the burden of proving that the risk of harm that the disclosure would entail (under the
 5    safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected Material to its
 6    Designated House Counsel or Expert.
 7    8.         PROSECUTION BAR
 8                        Absent written consent from the Producing Party, any individual who receives access to
 9    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –
10    SOURCE CODE” information shall not be involved in the prosecution of patents or patent applications
11    relating to the subject matter of this action, including without limitation the patents asserted in this action
12    and any patent or application claiming priority to or otherwise related to the patents asserted in this action,
13    before any foreign or domestic agency, including the United States Patent and Trademark Office (“the
14    Patent Office”). For purposes of this paragraph, “prosecution” includes directly or indirectly drafting,
15    amending, advising, or otherwise affecting the scope or maintenance of patent claims. 3 To avoid any
16    doubt, “prosecution” as used in this paragraph does not include representing a party challenging a patent
17    before a domestic or foreign agency (including, but not limited to, a reissue protest, ex parte reexamination
18    or inter partes reexamination). This Prosecution Bar shall begin when access to “HIGHLY
19    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE”
20    information is first received by the affected individual and shall end two (2) years after final termination of
21    this action.
22    9.         SOURCE CODE
23                   (a) To the extent production of source code becomes necessary in this case, a Producing Party
24    may designate source code as “HIGHLY CONFIDENTIAL – SOURCE CODE” if it comprises or
25    includes confidential, proprietary or trade secret source code.
26                   (b) Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE CODE” shall
27

28    3
          Prosecution includes, for example, original prosecution, reissue and reexamination proceedings.


                                                                                                                    12
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 14 of 19



 1    be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 2    ONLY” information, including the Prosecution Bar set forth in Paragraph 8, and may be disclosed only to
 3    the individuals to whom “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information may
 4    be disclosed, as set forth in Paragraphs 7.3 and 7.4, with the exception of Designated House Counsel.
 5                (c) Any source code produced in discovery shall be made available for inspection, in a format
 6    allowing it to be reasonably reviewed and searched, during normal business hours or at other mutually
 7    agreeable times, at an office of the Producing Party’s counsel or another mutually agreed upon location.
 8    The source code shall be made available for inspection on a secured computer in a secured room without
 9    Internet access or network access to other computers, and the Receiving Party shall not copy, remove, or
10    otherwise transfer any portion of the source code onto any recordable media or recordable device. The
11    Producing Party may visually monitor the activities of the Receiving Party’s representatives during any
12    source code review, but only to ensure that there is no unauthorized recording, copying, or transmission of
13    the source code.
14                (d) The Receiving Party may request paper copies of limited portions of source code that are
15    reasonably necessary for the preparation of court filings, pleadings, expert reports, or other papers, or for
16    deposition or trial, but shall not request paper copies for the purpose of reviewing the source code other
17    than electronically as set forth in paragraph (c) in the first instance. The Producing Party shall provide all
18    such source code in paper form, including bates numbers and the label “HIGHLY CONFIDENTIAL –
19    SOURCE CODE.” The Producing Party may challenge the amount of source code requested in hard copy
20    form pursuant to the dispute resolution procedure and timeframes set forth in Paragraph 6 whereby the
21    Producing Party is the “Challenging Party” and the Receiving Party is the “Designating Party” for
22    purposes of dispute resolution.
23                (e) The Receiving Party shall maintain a record of any individual who has inspected any
24    portion of the source code in electronic or paper form. The Receiving Party shall maintain all paper copies
25    of any printed portions of the source code in a secured, locked area. The Receiving Party shall not create
26    any electronic or other images of the paper copies and shall not convert any of the information contained
27    in the paper copies into any electronic format. The Receiving Party shall only make additional paper
28    copies if such additional copies are (1) necessary to prepare court filings, pleadings, or other papers

                                                                                                                   13
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 15 of 19



 1    (including a testifying expert’s expert report), (2) necessary for deposition, or (3) otherwise necessary for
 2    the preparation of its case. Any paper copies used during a deposition shall be retrieved by the Producing
 3    Party at the end of each day and must not be given to or left with a court reporter or any other
 4    unauthorized individual.
 5    10.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
               LITIGATION
 6

 7             If a Party is served with a subpoena or a court order issued in other litigation that compels

 8    disclosure of any information or items designated in this action as “CONFIDENTIAL,” “HIGHLY

 9    CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

10    CODE,” that Party must:

11                  (a) promptly notify in writing the Designating Party. Such notification shall include a copy of

12    the subpoena or court order;

13                  (b) promptly notify in writing the party who caused the subpoena or order to issue in the other

14    litigation that some or all of the material covered by the subpoena or order is subject to this Protective

15    Order. Such notification shall include a copy of this Protective Order; and

16                  (c) cooperate with respect to all reasonable procedures sought to be pursued by the

17    Designating Party whose Protected Material may be affected.4

18             If the Designating Party timely seeks a protective order, the Party served with the subpoena or

19    court order shall not produce any information designated in this action as “CONFIDENTIAL,” “HIGHLY

20    CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” or “HIGHLY CONFIDENTIAL – SOURCE CODE”

21    before a determination by the court from which the subpoena or order issued, unless the Party has obtained

22    the Designating Party’s permission. The Designating Party shall bear the burden and expense of seeking

23    protection in that court of its confidential material – and nothing in these provisions should be construed as

24    authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from another

25    court.

26
27    4
       The purpose of imposing these duties is to alert the interested parties to the existence of this Protective Order and to
      afford the Designating Party in this case an opportunity to try to protect its confidentiality interests in the court from
28    which the subpoena or order issued.


                                                                                                                             14
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 16 of 19



      11.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
 1
               LITIGATION
 2
                    (a) The terms of this Order are applicable to information produced by a Non-Party in this
 3
      action and designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 4
      ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such information produced by Non-Parties
 5
      in connection with this litigation is protected by the remedies and relief provided by this Order. Nothing in
 6
      these provisions should be construed as prohibiting a Non-Party from seeking additional protections.
 7
                    (b) In the event that a Party is required, by a valid discovery request, to produce a Non-Party’s
 8
      confidential information in its possession, and the Party is subject to an agreement with the Non-Party not
 9
      to produce the Non-Party’s confidential information, then the Party shall:
10
                        1.        promptly notify in writing the Requesting Party and the Non-Party that some or
11
      all of the information requested is subject to a confidentiality agreement with a Non-Party;
12
                        2.        promptly provide the Non-Party with a copy of the Protective Order in this
13
      litigation, the relevant discovery request(s), and a reasonably specific description of the information
14
      requested; and
15
                        3.        make the information requested available for inspection by the Non-Party.
16
                    (c) If the Non-Party fails to object or seek a protective order from this court within 14 days of
17
      receiving the notice and accompanying information, the Receiving Party may produce the Non-Party’s
18
      confidential information responsive to the discovery request. If the Non-Party timely seeks a protective
19
      order, the Receiving Party shall not produce any information in its possession or control that is subject to
20
      the confidentiality agreement with the Non-Party before a determination by the court.5 Absent a court
21
      order to the contrary, the Non-Party shall bear the burden and expense of seeking protection in this court
22
      of its Protected Material.
23
      12.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
24
               If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected Material
25
      to any person or in any circumstance not authorized under this Protective Order, the Receiving Party must
26
27
      5
       The purpose of this provision is to alert the interested parties to the existence of confidentiality rights of a Non-
28    Party and to afford the Non-Party an opportunity to protect its confidentiality interests in this court.


                                                                                                                               15
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 17 of 19



 1    immediately (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use its best
 2    efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the person or persons to
 3    whom unauthorized disclosures were made of all the terms of this Order, and (d) request such person or
 4    persons to execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
 5    A.
 6    13.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
              MATERIAL
 7

 8            When a Producing Party gives notice to Receiving Parties that certain inadvertently produced

 9    material is subject to a claim of privilege or other protection, the obligations of the Receiving Parties are

10    those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

11    whatever procedure may be established in an e-discovery order that provides for production without prior

12    privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an

13    agreement on the effect of disclosure of a communication or information covered by the attorney-client

14    privilege or work product protection, the parties may incorporate their agreement in a stipulated protective

15    order submitted to the court.

16    14.     MISCELLANEOUS

17            14.1     Right to Further Relief. Nothing in this Order abridges the right of any person to seek its

18    modification by the court in the future.

19            14.2     Right to Assert Other Objections. No Party waives any right it otherwise would have to

20    object to disclosing or producing any information or item on any ground not addressed in this Protective

21    Order. Similarly, no Party waives any right to object on any ground to use in evidence of any of the

22    material covered by this Protective Order.

23            14.3     Export Control. Disclosure of Protected Material shall be subject to all applicable laws

24    and regulations relating to the export of technical data contained in such Protected Material, including the

25    release of such technical data to foreign persons or nationals in the United States or elsewhere. The

26    Producing Party shall be responsible for identifying any such controlled technical data, and the Receiving

27    Party shall take measures necessary to ensure compliance.

28            14.4     Filing Protected Material. Without written permission from the Designating Party or a

                                                                                                                      16
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 18 of 19



 1    court order secured after appropriate notice to all interested persons, a Party may not file in the public
 2    record in this action any Protected Material. A Party that seeks to file under seal any Protected Material
 3    must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to a
 4    court order authorizing the sealing of the specific Protected Material at issue. Pursuant to Civil Local Rule
 5    79-5, a sealing order will issue only upon a request establishing that the Protected Material at issue is
 6    privileged, protectable as a trade secret, or otherwise entitled to protection under the law. If a Receiving
 7    Party's request to file Protected Material under seal pursuant to Civil Local Rule 79-5(e) is denied by the
 8    court, then the Receiving Party may file the Protected Material in the public record pursuant to Civil Local
 9    Rule 79-5(e)(2) unless otherwise instructed by the court.
10    15.     FINAL DISPOSITION
11            Within 60 days after the final disposition of this action, as defined in paragraph 4, each Receiving
12    Party must return all Protected Material to the Producing Party or destroy such material. As used in this
13    subdivision, “all Protected Material” includes all copies, abstracts, compilations, summaries, and any other
14    format reproducing or capturing any of the Protected Material. Whether the Protected Material is returned
15    or destroyed, the Receiving Party must submit a written certification to the Producing Party (and, if not the
16    same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by category,
17    where appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the
18    Receiving Party has not retained any copies, abstracts, compilations, summaries or any other format
19    reproducing or capturing any of the Protected Material. Notwithstanding this provision, Counsel are
20    entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
21    legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work product, and
22    consultant and expert work product, even if such materials contain Protected Material. Any such archival
23    copies that contain or constitute Protected Material remain subject to this Protective Order as set forth in
24    Section 4 (DURATION).
25    IT IS SO ORDERED.
26
      DATED: ________________________ _____________________________________
27
                                             [Name of Judge]
28                                           United States District/Magistrate Judge


                                                                                                                     17
     Case 3:17-cv-00939-WHA Document 2701-2 Filed 06/03/19 Page 19 of 19



 1                                                    EXHIBIT A
 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3                    I, _____________________________ [print or type full name], of _________________
 4    [print or type full address], declare under penalty of perjury that I have read in its entirety and understand
 5    the Protective Order that was issued by the United States District Court for the Northern District of
 6    California on _______ [date] in the case of ___________ [insert formal name of the case and the
 7    number and initials assigned to it by the court]. I agree to comply with and to be bound by all the terms
 8    of this Protective Order, and I understand and acknowledge that failure to so comply could expose me to
 9    sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in any
10    manner any information or item that is subject to this Protective Order to any person or entity except in
11    strict compliance with the provisions of this Order.
12                    I further agree to submit to the jurisdiction of the United States District Court for the
13    Northern District of California for the purpose of enforcing the terms of this Protective Order, even if such
14    enforcement proceedings occur after termination of this action.
15                    I hereby appoint __________________________ [print or type full name] of
16    _______________________________________ [print or type full address and telephone number] as my
17    California agent for service of process in connection with this action or any proceedings related to
18    enforcement of this Protective Order.
19
20    Date: _________________________________
21    City and State where sworn and signed: _________________________________
22
      Printed name: ______________________________
23                   [printed name]

24    Signature: __________________________________
                     [signature]
25

26
27

28

                                                                                                                 18
Case 3:17-cv-00939-WHA Document 2701-3 Filed 06/03/19 Page 1 of 5




                 EXHIBIT B
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-3
                                       2671 Filed
                                             Filed04/09/18
                                                   06/03/19 Page
                                                             Page12ofof45



 1   [COUNSEL LISTED ON SIGNATURE PAGE]
 2

 3

 4

 5

 6

 7

 8

 9
10                             UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                SAN FRANCISCO DIVISION

13   WAYMO LLC,                                  CASE NO. 3:17-cv-00939-WHA
14               Plaintiff,                      JOINT STIPULATION AND
                                                 [PROPOSED] ORDER TO EXTEND
15         vs.                                   THE DEADLINE UNDER
                                                 PARAGRAPH 15 OF THE INTERIM
16   UBER TECHNOLOGIES, INC. and                 MODEL PROTECTIVE ORDER
     OTTOMOTTO LLC,
17
                 Defendants,
18

19

20

21

22

23

24

25

26

27
28

          JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-3
                                       2671 Filed
                                             Filed04/09/18
                                                   06/03/19 Page
                                                             Page23ofof45



 1          Pursuant to Civil Local Rules 6-1(b) and 6-2(a), and upon the accompanying declaration
 2   of Meredith R. Dearborn, dated April 6, 2018 (“Dearborn Decl.”), Plaintiff Waymo LLC and
 3   Defendants Uber Technologies, Inc. and Ottomotto LLC hereby stipulate and agree to the
 4   following sixty-day extension, from April 10, 2018 until June 11, 2018, of the deadline to comply
 5   with the requirements of Paragraph 15 of the Interim Model Protective Order:
 6          1.      On March 16, 2017, the Court ordered that the parties be bound by the Interim
 7   Model Protective Order (the “Protective Order”), a true and correct copy of which is attached as
 8   Exhibit A to the accompanying declaration of Meredith R. Dearborn, dated April 6, 2018. See
 9   Dearborn Decl. ¶ 2.
10          2.      Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the
11   final disposition of this action, as defined in paragraph 4, each Receiving Party must return all
12   Protected Material to the Producing Party or destroy such material,” and further requires each
13   Receiving Party to certify in writing by the 60-day deadline (1) that all of the material subject to
14   the Protective Order was returned or destroyed, and (2) that it has not retained copies, abstracts,
15   compilations, or summaries of material subject to the Protective Order. See Dearborn Decl., ¶ 3
16   and Ex. A.
17          3.      The parties settled this lawsuit, and a final disposition was entered on February 9,
18   2018. See Dearborn Decl. ¶ 4.
19          4.      Each Receiving Party, as defined by Paragraph 2.17 of the Protective Order, has
20   sixty days from that final disposition, until April 10, 2018, to comply with the requirements of
21   Paragraph 15. See Dearborn Decl. ¶ 4 and Ex. A.
22          5.      The pendency of related matters impose document preservation obligations on the
23   parties that conflict with Paragraph 15’s requirements. See Dearborn Decl. ¶ 5.
24          6.      The parties agree that additional time is therefore needed to satisfy conflicting
25   preservation obligations, and that it is possible the parties might hereafter request additional time
26   if those obligations have not been satisfied. See id.
27   //
28   //
                                                 1
           JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-3
                                       2671 Filed
                                             Filed04/09/18
                                                   06/03/19 Page
                                                             Page34ofof45



 1         IT IS SO STIPULATED
 2

 3   DATED: April 6, 2018              QUINN EMANUEL URQUHART & SULLIVAN LLP
 4
                                       By:   /s/ David A. Perlson
 5                                           David A. Perlson
 6                                           Attorney for Plaintiff WAYMO LLC

 7

 8   DATED: April 6, 2018              BOIES SCHILLER FLEXNER LLP
 9

10                                     By:   /s/ Meredith R. Dearborn
                                             Meredith R. Dearborn
11                                           Attorney for Defendants UBER TECHNOLOGIES,
                                             INC. and OTTOMOTTO LLC
12

13

14

15   PURSUANT TO STIPULATION, IT IS SO ORDERED.

16

17
     DATED:       April 9     , 2018
18                                                 The Honorable William H. Alsup
19

20

21

22

23

24

25

26

27
28
                                                2
          JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-3
                                       2671 Filed
                                             Filed04/09/18
                                                   06/03/19 Page
                                                             Page45ofof45



 1                                   SIGNATURE ATTESTATION
 2          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
 3   filing of this document has been obtained from any other signatory to this document.
 4

 5   DATED: April 6, 2018                         By: /s/ Meredith R. Dearborn
                                                      Meredith R. Dearborn
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                 3
           JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
Case 3:17-cv-00939-WHA Document 2701-4 Filed 06/03/19 Page 1 of 32




                  EXHIBIT C
     Case
      Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document
                               Document2701-4
                                        2674
                                         2673 Filed
                                              Filed
                                               Filed06/11/18
                                                     06/07/18
                                                     06/03/19 Page
                                                              Page
                                                               Page112of
                                                                       of
                                                                       of31
                                                                          432



 1   [COUNSEL LISTED ON SIGNATURE PAGE]

 2

 3

 4

 5

 6

 7

 8

 9
10                              UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12                                 SAN FRANCISCO DIVISION

13   WAYMO LLC,                                  CASE NO. 3:17-cv-00939-WHA
14                Plaintiff,                     SECOND JOINT STIPULATION AND
                                                 [PROPOSED] ORDER TO EXTEND
15         vs.                                   THE DEADLINE UNDER
                                                 PARAGRAPH 15 OF THE INTERIM
16   UBER TECHNOLOGIES, INC. and                 MODEL PROTECTIVE ORDER
     OTTOMOTTO LLC,
17
                  Defendants.
18
19

20

21

22

23

24

25

26

27

28
       SECOND JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
     Case
      Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document
                               Document2701-4
                                        2674
                                         2673 Filed
                                              Filed
                                               Filed06/11/18
                                                     06/07/18
                                                     06/03/19 Page
                                                              Page
                                                               Page223of
                                                                       of
                                                                       of31
                                                                          432



 1            Pursuant to Civil Local Rules 6-1(b) and 6-2(a), and upon the accompanying declaration

 2   of Meredith R. Dearborn, dated June 7, 2018 (“Dearborn Decl.”), Plaintiff Waymo LLC and

 3   Defendants Uber Technologies, Inc. and Ottomotto LLC hereby stipulate and agree to the

 4   following one-hundred-and-twenty-day extension, from June 11, 2018 until October 9, 2018, of

 5   the deadline to comply with the requirements of Paragraph 15 of the Interim Model Protective

 6   Order:

 7            1.     On March 16, 2017, the Court ordered that the parties be bound by the Interim

 8   Model Protective Order (the “Protective Order”), a true and correct copy of which is attached as

 9   Exhibit A to the accompanying declaration of Meredith R. Dearborn. See Dearborn Decl. ¶ 3.

10            2.     Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the

11   final disposition of this action, as defined in paragraph 4, each Receiving Party must return all

12   Protected Material to the Producing Party or destroy such material,” and further requires each

13   Receiving Party to certify in writing by the 60-day deadline (1) that all of the material subject to

14   the Protective Order was returned or destroyed, and (2) that it has not retained copies, abstracts,

15   compilations, or summaries of material subject to the Protective Order. See Dearborn Decl. ¶ 4

16   and Ex. A.

17            3.     The parties settled this lawsuit, and a final disposition was entered on February 9,

18   2018. See Dearborn Decl. ¶ 5.

19            4.     Each Receiving Party, as defined by Paragraph 2.17 of the Protective Order, has

20   sixty days from that final disposition, until April 10, 2018, to comply with the requirements of

21   Paragraph 15. See Dearborn Decl. ¶ 5 and Ex. A.

22            5.     On April 6, 2018, the parties filed a stipulation and proposed order extending the

23   deadline to comply with Paragraph 15 until June 11, 2018, citing the pendency of related matters

24   that impose document preservation obligations on the parties that conflict with Paragraph 15’s

25   requirements. See Dearborn Decl. ¶ 6. The parties further indicated that they “might hereafter

26   request additional time if those obligations have not been satisfied.” Id.

27
28
                                                1
       SECOND JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
     Case
      Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document
                               Document2701-4
                                        2674
                                         2673 Filed
                                              Filed
                                               Filed06/11/18
                                                     06/07/18
                                                     06/03/19 Page
                                                              Page
                                                               Page334of
                                                                       of
                                                                       of31
                                                                          432



 1          6.      The Court approved the stipulation and signed the proposed order on April 9,

 2   2018. See Dearborn Decl. ¶ 7 and Ex. B.

 3          7.      The parties agree that additional time is still needed to satisfy conflicting

 4   preservation obligations, and that the parties may still hereafter request additional time if those

 5   obligations have not been satisfied. See Dearborn Decl. ¶ 8.

 6

 7

 8          IT IS SO STIPULATED

 9

10   DATED: June 7, 2018                    QUINN EMANUEL URQUHART & SULLIVAN LLP

11
                                            By:   /s/ David A. Perlson
12                                                David A. Perlson
13                                                Attorneys for Plaintiff WAYMO LLC

14

15   DATED: June 7, 2018                    BOIES SCHILLER FLEXNER LLP
16

17                                          By:   /s/ Meredith R. Dearborn
                                                  Meredith R. Dearborn
18                                                Attorneys for Defendants UBER TECHNOLOGIES,
                                                  INC. and OTTOMOTTO LLC
19

20

21

22   PURSUANT TO STIPULATION, IT IS SO ORDERED.

23

24                   June 11
     DATED:                        , 2018
25                                                       The Honorable William Alsup

26

27
28
                                                2
       SECOND JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
     Case
      Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                               Document
                               Document2701-4
                                        2674
                                         2673 Filed
                                              Filed
                                               Filed06/11/18
                                                     06/07/18
                                                     06/03/19 Page
                                                              Page
                                                               Page445of
                                                                       of
                                                                       of31
                                                                          432



 1                                   SIGNATURE ATTESTATION

 2          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3   filing of this document has been obtained from any other signatory to this document.

 4

 5   DATED: June 7, 2018                          By: /s/ Meredith R. Dearborn
                                                      Meredith R. Dearborn
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                3
       SECOND JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
       Case
       Case
        Case3:17-cv-00939-WHA
            3:17-cv-00939-WHA
             3:17-cv-00939-WHA Document
                               Document
                                Document2701-4
                                        2673-1
                                         2674 Filed
                                               Filed
                                                Filed06/11/18
                                                      06/03/19
                                                      06/07/18 Page
                                                                Page
                                                                Page561ofof
                                                                         of31
                                                                            32
                                                                            3



 1   MICHAEL A. JACOBS (CA SBN 111664)
     mjacobs@mofo.com
 2   ARTURO J. GONZÁLEZ (CA SBN 121490)
     agonzalez@mofo.com
 3   MORRISON & FOERSTER LLP
     425 Market Street
 4   San Francisco, California 94105-2482
     Tel: 415.268.7000 / Fax: 415.268.7522
 5
     KAREN L. DUNN (Pro Hac Vice)
 6   kdunn@bsfllp.com
     HAMISH P. M. HUME (Pro Hac Vice)
 7   hhume@bsfllp.com
     BOIES SCHILLER FLEXNER LLP
 8   1401 New York Avenue, N.W.
     Washington, D.C. 20005
 9   Tel: 202.237.2727 / Fax: 202.237.6131

10   WILLIAM C. CARMODY (Pro Hac Vice)
     bcarmody@susmangodfrey.com
11   SHAWN J. RABIN (Pro Hac Vice)
     srabin@susmangodfrey.com
12   SUSMAN GODFREY LLP
     1301 Avenue of the Americas, 32nd Floor
13   New York, New York 10019
     Tel: 212.336.8330 / Fax: 212.336.8340
14
     Attorneys for Defendants
15   UBER TECHNOLOGIES, INC.
     and OTTOMOTTO LLC
16

17
                                UNITED STATES DISTRICT COURT
18
                               NORTHERN DISTRICT OF CALIFORNIA
19
                                   SAN FRANCISCO DIVISION
20

21
     WAYMO LLC,                                  CASE NO. 3:17-cv-00939-WHA
22
                  Plaintiff,                     DECLARATION OF MEREDITH R.
23                                               DEARBORN PURSUANT TO CIVIL
           vs.                                   LOCAL RULE 6-2(a)
24
     UBER TECHNOLOGIES, INC. and
25   OTTOMOTTO LLC,

26                Defendants.

27

28

       DEARBORN DECL. ISO SECOND JOINT STIPULATION TO EXTEND PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
        Case
        Case
         Case3:17-cv-00939-WHA
             3:17-cv-00939-WHA
              3:17-cv-00939-WHA Document
                                Document
                                 Document2701-4
                                         2673-1
                                          2674 Filed
                                                Filed
                                                 Filed06/11/18
                                                       06/03/19
                                                       06/07/18 Page
                                                                 Page
                                                                 Page672ofof
                                                                          of31
                                                                             32
                                                                             3



 1          I, MEREDITH R. DEARBORN, declare as follows:

 2          1.      I am a partner with the law firm Boies Schiller Flexner LLP, representing

 3   Defendants Uber Technologies, Inc. and Ottomotto LLC in this matter. I am a member in good

 4   standing of the Bar of the State of California.

 5          2.      I make this declaration in support of the parties’ second joint application to extend

 6   the deadline to return or destroy evidence imposed by Paragraph 15 of the Interim Model

 7   Protective Order.

 8          3.      On March 16, 2017, the Honorable William Alsup ordered that the parties be

 9   bound by the Court’s Interim Model Protective Order (the “Protective Order”), a true and correct

10   copy of which is attached as Exhibit A. See Waymo LLC v. Uber Technologies, Inc., et al., 17-

11   cv-00939-WHA, Doc. 63 at 6:22–24.

12          4.      Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the

13   final disposition of this action, as defined in paragraph 4, each Receiving Party must return all

14   Protected Material to the Producing Party or destroy such material.” Protective Order ¶ 15. The

15   Protective Order further requires each Receiving Party to certify in writing by the 60-day

16   deadline (1) that all of the material subject to the Protective Order was returned or destroyed, and

17   (2) that it has not retained copies, abstracts, compilations, or summaries of material subject to the

18   Protective Order. Id.

19          5.      The parties settled this lawsuit, and a final disposition was entered on February 9,

20   2018. See Waymo v. Uber, Doc. No. 2650. Each Receiving Party, as defined by Paragraph 2.17

21   of the Protective Order, has sixty days from that final disposition, until April 10, 2018, to comply

22   with the requirements of Paragraph 15.

23          6.      On April 6, 2018, the parties filed a stipulation and proposed order extending the

24   deadline to comply with Paragraph 15 until June 11, 2018, citing the pendency of related matters

25   that impose document preservation obligations on the parties that conflict with Paragraph 15’s

26   requirements. The parties further indicated that they “might hereafter request additional time if

27   those obligations have not been satisfied.”

28                                                     1
       DEARBORN DECL. ISO SECOND JOINT STIPULATION TO EXTEND PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
        Case
        Case
         Case3:17-cv-00939-WHA
             3:17-cv-00939-WHA
              3:17-cv-00939-WHA Document
                                Document
                                 Document2701-4
                                         2673-1
                                          2674 Filed
                                                Filed
                                                 Filed06/11/18
                                                       06/03/19
                                                       06/07/18 Page
                                                                 Page
                                                                 Page783ofof
                                                                          of31
                                                                             32
                                                                             3



 1          7.      The Court approved the stipulation and entered the proposed order on April 9,

 2   2018, a copy of which is attached hereto as Exhibit B.

 3          8.      Related matters that impose document preservation obligations on the parties that

 4   conflict with Paragraph 15’s requirements are still pending. The parties continue to anticipate

 5   that they may request additional time if those obligations have not been satisfied.

 6          9.      The parties stipulate and agree to a one-hundred-and-twenty-day extension of the

 7   deadline imposed under Paragraph 15 of the Protective Order.

 8          10.     This is the parties’ second request for an extension of the time limits imposed by

 9   the Protective Order.

10          11.     The requested extension will affect no other deadlines in this case.

11

12          I declare under penalty of perjury under the laws of the United States that the foregoing is

13   true and correct.

14          Executed on this 7th day of June, 2018, in Oakland, California.

15

16                                                    /s/ Meredith R. Dearborn
                                                         Meredith R. Dearborn
17

18

19
20

21

22

23

24

25

26

27

28
                                                      2
      DEARBORN DECL. ISO SECOND JOINT STIPULATION TO EXTEND PROTECTIVE ORDER DEADLINE
                                 CASE NO. 3:17-CV-00939-WHA
Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document2701-4
                                 2673-2
                                  2674 Filed
                                        Filed06/11/18
                                              06/07/18 Page
                                              06/03/19  Page89
                                                             1ofof31
                                                                   19
                                                                   32




               EXHIBIT A
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHA Document
                              Document
                               Document2701-4
                                        2673-2
                                         2674 Filed
                                               Filed
                                               Filed06/11/18
                                                     06/03/19
                                                      06/07/18 Page
                                                               Page
                                                                Page910
                                                                      2ofof
                                                                         of31
                                                                            19
                                                                            32



 1

 2

 3

 4

 5

 6

 7
                                         UNITED STATES DISTRICT COURT
 8
                                        NORTHERN DISTRICT OF CALIFORNIA
 9
10
                                                                 Case No. C
11
                           Plaintiff,                            PATENT LOCAL RULE 2-2 INTERIM
12                                                               MODEL PROTECTIVE ORDER
              v.
13

14
                           Defendant.
15

16

17    1.      PURPOSES AND LIMITATIONS
18            Disclosure and discovery activity in this action are likely to involve production of confidential,
19    proprietary, or private information for which special protection from public disclosure and from use for
20    any purpose other than prosecuting this litigation may be warranted. This Order does not confer blanket
21    protections on all disclosures or responses to discovery and the protection it affords from public disclosure
22    and use extends only to the limited information or items that are entitled to confidential treatment under
23    the applicable legal principles. As set forth in Section 14.4 below, this Protective Order does not entitle the
24    Parties to file confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that
25    must be followed and the standards that will be applied when a party seeks permission from the court to
26    file material under seal.
27    2.      DEFINITIONS
28            2.1      Challenging Party: a Party or Non-Party that challenges the designation of information or
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document
                              Document2701-4
                                       2673-2
                                       2674 Filed
                                              Filed
                                              Filed06/11/18
                                                    06/03/19
                                                     06/07/18 Page
                                                               Page
                                                               Page10
                                                                    11
                                                                     3 of
                                                                       of
                                                                        of31
                                                                          19
                                                                           32



 1    items under this Order.
 2             2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is generated,
 3    stored or maintained) or tangible things that qualify for protection under Federal Rule of Civil Procedure
 4    26(c).
 5             2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well as
 6    their support staff).
 7             2.4     Designated House Counsel: House Counsel who seek access to “HIGHLY
 8    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information in this matter.
 9             2.5     Designating Party: a Party or Non-Party that designates information or items that it
10    produces in disclosures or in responses to discovery as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL
11    – ATTORNEYS' EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
12             2.6     Disclosure or Discovery Material: all items or information, regardless of the medium or
13    manner in which it is generated, stored, or maintained (including, among other things, testimony,
14    transcripts, and tangible things), that are produced or generated in disclosures or responses to discovery in
15    this matter.
16             2.7     Expert: a person with specialized knowledge or experience in a matter pertinent to the
17    litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or as a
18    consultant in this action, (2) is not a past or current employee of a Party or of a Party's competitor, and (3)
19    at the time of retention, is not anticipated to become an employee of a Party or of a Party's competitor.
20             2.8     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items:
21    extremely sensitive “Confidential Information or Items,” disclosure of which to another Party or Non-
22    Party would create a substantial risk of serious harm that could not be avoided by less restrictive means.
23             2.9     “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items: extremely
24    sensitive “Confidential Information or Items” representing computer code and associated comments and
25    revision histories, formulas, engineering specifications, or schematics that define or otherwise describe in
26    detail the algorithms or structure of software or hardware designs, disclosure of which to another Party or
27    Non-Party would create a substantial risk of serious harm that could not be avoided by less restrictive
28    means.

                                                                                                                     2
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document
                              Document2701-4
                                       2673-2
                                       2674 Filed
                                              Filed
                                              Filed06/11/18
                                                    06/03/19
                                                     06/07/18 Page
                                                               Page
                                                               Page11
                                                                    12
                                                                     4 of
                                                                       of
                                                                        of31
                                                                          19
                                                                           32



 1             2.10    House Counsel: attorneys who are employees of a party to this action. House Counsel
 2    does not include Outside Counsel of Record or any other outside counsel.
 3             2.11    Non-Party: any natural person, partnership, corporation, association, or other legal entity
 4    not named as a Party to this action.
 5             2.12    Outside Counsel of Record: attorneys who are not employees of a party to this action but
 6    are retained to represent or advise a party to this action and have appeared in this action on behalf of that
 7    party or are affiliated with a law firm which has appeared on behalf of that party.
 8             2.13    Party: any party to this action, including all of its officers, directors, employees,
 9    consultants, retained experts, and Outside Counsel of Record (and their support staffs).
10             2.14    Producing Party: a Party or Non-Party that produces Disclosure or Discovery Material in
11    this action.
12             2.15    Professional Vendors: persons or entities that provide litigation support services (e.g.,
13    photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing, storing, or
14    retrieving data in any form or medium) and their employees and subcontractors.
15             2.16    Protected Material: any Disclosure or Discovery Material that is designated as
16    “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY
17    CONFIDENTIAL – SOURCE CODE.”
18             2.17    Receiving Party: a Party that receives Disclosure or Discovery Material from a Producing
19    Party.
20    3.       SCOPE
21             The protections conferred by this Order cover not only Protected Material (as defined above), but
22    also (1) any information copied or extracted from Protected Material; (2) all copies, excerpts, summaries,
23    or compilations of Protected Material; and (3) any testimony, conversations, or presentations by Parties or
24    their Counsel that might reveal Protected Material. However, the protections conferred by this Order do
25    not cover the following information: (a) any information that is in the public domain at the time of
26    disclosure to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving
27    Party as a result of publication not involving a violation of this Order, including becoming part of the
28    public record through trial or otherwise; and (b) any information known to the Receiving Party prior to the

                                                                                                                      3
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document
                              Document2701-4
                                       2673-2
                                       2674 Filed
                                              Filed
                                              Filed06/11/18
                                                    06/03/19
                                                     06/07/18 Page
                                                               Page
                                                               Page12
                                                                    13
                                                                     5 of
                                                                       of
                                                                        of31
                                                                          19
                                                                           32



 1    disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the
 2    information lawfully and under no obligation of confidentiality to the Designating Party. Any use of
 3    Protected Material at trial shall be governed by a separate agreement or order.
 4    4.      DURATION
 5            Even after final disposition of this litigation, the confidentiality obligations imposed by this Order
 6    shall remain in effect until a Designating Party agrees otherwise in writing or a court order otherwise
 7    directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and defenses in this
 8    action, with or without prejudice; and (2) final judgment herein after the completion and exhaustion of all
 9    appeals, rehearings, remands, trials, or reviews of this action, including the time limits for filing any
10    motions or applications for extension of time pursuant to applicable law.
11    5.      DESIGNATING PROTECTED MATERIAL
12            5.1      Exercise of Restraint and Care in Designating Material for Protection. Each Party or Non-
13    Party that designates information or items for protection under this Order must take care to limit any such
14    designation to specific material that qualifies under the appropriate standards. To the extent it is practical
15    to do so, the Designating Party must designate for protection only those parts of material, documents,
16    items, or oral or written communications that qualify – so that other portions of the material, documents,
17    items, or communications for which protection is not warranted are not swept unjustifiably within the
18    ambit of this Order.
19            Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown to be
20    clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily encumber or
21    retard the case development process or to impose unnecessary expenses and burdens on other parties)
22    expose the Designating Party to sanctions.
23            If it comes to a Designating Party’s attention that information or items that it designated for
24    protection do not qualify for protection at all or do not qualify for the level of protection initially asserted,
25    that Designating Party must promptly notify all other Parties that it is withdrawing the mistaken
26    designation.
27            5.2      Manner and Timing of Designations. Except as otherwise provided in this Order (see, e.g.,
28    second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery

                                                                                                                       4
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document
                              Document2701-4
                                       2673-2
                                       2674 Filed
                                              Filed
                                              Filed06/11/18
                                                    06/03/19
                                                     06/07/18 Page
                                                               Page
                                                               Page13
                                                                    14
                                                                     6 of
                                                                       of
                                                                        of31
                                                                          19
                                                                           32



 1    Material that qualifies for protection under this Order must be clearly so designated before the material is
 2    disclosed or produced.
 3            Designation in conformity with this Order requires:
 4            (a) for information in documentary form (e.g., paper or electronic documents, but excluding
 5    transcripts of depositions or other pretrial or trial proceedings), that the Producing Party affix the legend
 6    “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY
 7    CONFIDENTIAL – SOURCE CODE” to each page that contains protected material. If only a portion or
 8    portions of the material on a page qualifies for protection, the Producing Party also must clearly identify
 9    the protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for each
10    portion, the level of protection being asserted.
11            A Party or Non-Party that makes original documents or materials available for inspection need not
12    designate them for protection until after the inspecting Party has indicated which material it would like
13    copied and produced. During the inspection and before the designation, all of the material made available
14    for inspection shall be deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the
15    inspecting Party has identified the documents it wants copied and produced, the Producing Party must
16    determine which documents, or portions thereof, qualify for protection under this Order. Then, before
17    producing the specified documents, the Producing Party must affix the appropriate legend
18    (“CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY
19    CONFIDENTIAL – SOURCE CODE”) to each page that contains Protected Material. If only a portion or
20    portions of the material on a page qualifies for protection, the Producing Party also must clearly identify
21    the protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for each
22    portion, the level of protection being asserted.
23            (b) for testimony given in deposition or in other pretrial or trial proceedings, that the Designating
24    Party identify on the record, before the close of the deposition, hearing, or other proceeding, all protected
25    testimony and specify the level of protection being asserted. When it is impractical to identify separately
26    each portion of testimony that is entitled to protection and it appears that substantial portions of the
27    testimony may qualify for protection, the Designating Party may invoke on the record (before the
28    deposition, hearing, or other proceeding is concluded) a right to have up to 21 days to identify the specific

                                                                                                                      5
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document
                              Document2701-4
                                       2673-2
                                       2674 Filed
                                              Filed
                                              Filed06/11/18
                                                    06/03/19
                                                     06/07/18 Page
                                                               Page
                                                               Page14
                                                                    15
                                                                     7 of
                                                                       of
                                                                        of31
                                                                          19
                                                                           32



 1    portions of the testimony as to which protection is sought and to specify the level of protection being
 2    asserted. Only those portions of the testimony that are appropriately designated for protection within the
 3    21 days shall be covered by the provisions of this Protective Order. Alternatively, a Designating Party may
 4    specify, at the deposition or up to 21 days afterwards if that period is properly invoked, that the entire
 5    transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 6    ONLY.”
 7            Parties shall give the other parties notice if they reasonably expect a deposition, hearing, or other
 8    proceeding to include Protected Material so that the other parties can ensure that only authorized
 9    individuals who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present
10    at those proceedings. The use of a document as an exhibit at a deposition shall not in any way affect its
11    designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
12            Transcripts containing Protected Material shall have an obvious legend on the title page that the
13    transcript contains Protected Material, and the title page shall be followed by a list of all pages (including
14    line numbers as appropriate) that have been designated as Protected Material and the level of protection
15    being asserted by the Designating Party. The Designating Party shall inform the court reporter of these
16    requirements. Any transcript that is prepared before the expiration of a 21-day period for designation shall
17    be treated during that period as if it had been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’
18    EYES ONLY” in its entirety unless otherwise agreed. After the expiration of that period, the transcript
19    shall be treated only as actually designated.
20            (c) for information produced in some form other than documentary and for any other tangible
21    items, that the Producing Party affix in a prominent place on the exterior of the container or containers in
22    which the information or item is stored the legend “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
23    ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” If only a portion or
24    portions of the information or item warrant protection, the Producing Party, to the extent practicable, shall
25    identify the protected portion(s) and specify the level of protection being asserted.
26            5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to designate
27    qualified information or items does not, standing alone, waive the Designating Party’s right to secure
28    protection under this Order for such material. Upon timely correction of a designation, the Receiving Party

                                                                                                                       6
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document
                              Document2701-4
                                       2673-2
                                       2674 Filed
                                              Filed
                                              Filed06/11/18
                                                    06/03/19
                                                     06/07/18 Page
                                                               Page
                                                               Page15
                                                                    16
                                                                     8 of
                                                                       of
                                                                        of31
                                                                          19
                                                                           32



 1    must make reasonable efforts to assure that the material is treated in accordance with the provisions of this
 2    Order.
 3    6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
 4              6.1    Timing of Challenges. Any Party or Non-Party may challenge a designation of
 5    confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality designation
 6    is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens, or a significant
 7    disruption or delay of the litigation, a Party does not waive its right to challenge a confidentiality
 8    designation by electing not to mount a challenge promptly after the original designation is disclosed.
 9              6.2    Meet and Confer. The Challenging Party shall initiate the dispute resolution process by
10    providing written notice of each designation it is challenging and describing the basis for each challenge.
11    To avoid ambiguity as to whether a challenge has been made, the written notice must recite that the
12    challenge to confidentiality is being made in accordance with this specific paragraph of the Protective
13    Order. The parties shall attempt to resolve each challenge in good faith and must begin the process by
14    conferring directly (in voice to voice dialogue; other forms of communication are not sufficient) within 14
15    days of the date of service of notice. In conferring, the Challenging Party must explain the basis for its
16    belief that the confidentiality designation was not proper and must give the Designating Party an
17    opportunity to review the designated material, to reconsider the circumstances, and, if no change in
18    designation is offered, to explain the basis for the chosen designation. A Challenging Party may proceed to
19    the next stage of the challenge process only if it has engaged in this meet and confer process first or
20    establishes that the Designating Party is unwilling to participate in the meet and confer process in a timely
21    manner.
22              6.3    Judicial Intervention. If the Parties cannot resolve a challenge without court intervention,
23    the Designating Party shall file and serve a motion to retain confidentiality under Civil Local Rule 7 (and
24    in compliance with Civil Local Rule 79-5, if applicable) within 21 days of the initial notice of challenge or
25    within 14 days of the parties agreeing that the meet and confer process will not resolve their dispute,
26    whichever is earlier. Each such motion must be accompanied by a competent declaration affirming that the
27    movant has complied with the meet and confer requirements imposed in the preceding paragraph. Failure
28    by the Designating Party to make such a motion including the required declaration within 21 days (or 14

                                                                                                                      7
     Case
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                             Document
                              Document2701-4
                                       2673-2
                                       2674 Filed
                                              Filed
                                              Filed06/11/18
                                                    06/03/19
                                                     06/07/18 Page
                                                               Page
                                                               Page16
                                                                    17
                                                                     9 of
                                                                       of
                                                                        of31
                                                                          19
                                                                           32



 1    days, if applicable) shall automatically waive the confidentiality designation for each challenged
 2    designation. In addition, the Challenging Party may file a motion challenging a confidentiality designation
 3    at any time if there is good cause for doing so, including a challenge to the designation of a deposition
 4    transcript or any portions thereof. Any motion brought pursuant to this provision must be accompanied by
 5    a competent declaration affirming that the movant has complied with the meet and confer requirements
 6    imposed by the preceding paragraph.
 7            The burden of persuasion in any such challenge proceeding shall be on the Designating Party.
 8    Frivolous challenges and those made for an improper purpose (e.g., to harass or impose unnecessary
 9    expenses and burdens on other parties) may expose the Challenging Party to sanctions. Unless the
10    Designating Party has waived the confidentiality designation by failing to file a motion to retain
11    confidentiality as described above, all parties shall continue to afford the material in question the level of
12    protection to which it is entitled under the Producing Party’s designation until the court rules on the
13    challenge.
14    7.      ACCESS TO AND USE OF PROTECTED MATERIAL
15            7.1       Basic Principles. A Receiving Party may use Protected Material that is disclosed or
16    produced by another Party or by a Non-Party in connection with this case only for prosecuting, defending,
17    or attempting to settle this litigation. Such Protected Material may be disclosed only to the categories of
18    persons and under the conditions described in this Order. When the litigation has been terminated, a
19    Receiving Party must comply with the provisions of section 15 below (FINAL DISPOSITION).
20            Protected Material must be stored and maintained by a Receiving Party at a location and in a
21    secure manner that ensures that access is limited to the persons authorized under this Order.
22            7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by the
23    court or permitted in writing by the Designating Party, a Receiving Party may disclose any information or
24    item designated “CONFIDENTIAL” only to:
25                  (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of
26    said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this
27    litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto
28    as Exhibit A;

                                                                                                                       8
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page17
                                                                  10ofof31
                                                                  18     19
                                                                         32



 1                   (b) the officers, directors, and employees (including House Counsel) of the Receiving Party to
 2    whom disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment
 3    and Agreement to Be Bound” (Exhibit A);
 4                   (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is reasonably
 5    necessary for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
 6    (Exhibit A);
 7                   (d) the court and its personnel;
 8                   (e) court reporters and their staff, professional jury or trial consultants, and Professional
 9    Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
10    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11                   (f) during their depositions, witnesses in the action to whom disclosure is reasonably
12    necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless
13    otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed deposition
14    testimony or exhibits to depositions that reveal Protected Material must be separately bound by the court
15    reporter and may not be disclosed to anyone except as permitted under this Protective Order.
16                   (g) the author or recipient of a document containing the information or a custodian or other
17    person who otherwise possessed or knew the information.
18            7.3        Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and
19    “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise ordered by the
20    court or permitted in writing by the Designating Party, a Receiving Party may disclose any information or
21    item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
22    CONFIDENTIAL – SOURCE CODE” only to:
23                   (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees of
24    said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for this
25    litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto
26    as Exhibit A;
27                   (b) Designated House Counsel of the Receiving Party (1) who has no involvement in
28    competitive decision-making, (2) to whom disclosure is reasonably necessary for this litigation, (3) who

                                                                                                                     9
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page18
                                                                  11ofof31
                                                                  19     19
                                                                         32



 1    has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (4) as to whom the
 2    procedures set forth in paragraph 7.4(a)(1), below, have been followed;1
 3                 (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this
 4    litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3)
 5    as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed;
 6                 (d) the court and its personnel;
 7                 (e) court reporters and their staff, professional jury or trial consultants, and Professional
 8    Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the
 9    “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
10                 (f) the author or recipient of a document containing the information or a custodian or other
11    person who otherwise possessed or knew the information.
12            7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL –
13    ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items
14    to Designated House Counsel or Experts.
15                 (a)(1) Unless otherwise ordered by the court or agreed to in writing by the Designating Party,
16    a Party that seeks to disclose to Designated House Counsel any information or item that has been
17    designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to paragraph 7.3(b)
18    first must make a written request to the Designating Party that (1) sets forth the full name of the
19    Designated House Counsel and the city and state of his or her residence and (2) describes the Designated
20    House Counsel’s current and reasonably foreseeable future primary job duties and responsibilities in
21    sufficient detail to determine if House Counsel is involved, or may become involved, in any competitive
22    decision-making.
23                 (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating Party,
24    a Party that seeks to disclose to an Expert (as defined in this Order) any information or item that has been
25    designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY
26
27
      1
       This Order contemplates that Designated House Counsel shall not have access to any information or items
28    designated “HIGHLY CONFIDENTIAL – SOURCE CODE.”


                                                                                                                   10
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page19
                                                                  12ofof31
                                                                  20     19
                                                                         32



 1    CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(c) first must make a written request to
 2    the Designating Party that (1) identifies the general categories of “HIGHLY CONFIDENTIAL –
 3    ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” information that the
 4    Receiving Party seeks permission to disclose to the Expert, (2) sets forth the full name of the Expert and
 5    the city and state of his or her primary residence, (3) attaches a copy of the Expert’s current resume, (4)
 6    identifies the Expert’s current employer(s), (5) identifies each person or entity from whom the Expert has
 7    received compensation or funding for work in his or her areas of expertise or to whom the expert has
 8    provided professional services, including in connection with a litigation, at any time during the preceding
 9    five years,2 and (6) identifies (by name and number of the case, filing date, and location of court) any
10    litigation in connection with which the Expert has offered expert testimony, including through a
11    declaration, report, or testimony at a deposition or trial, during the preceding five years.
12                 (b) A Party that makes a request and provides the information specified in the preceding
13    respective paragraphs may disclose the subject Protected Material to the identified Designated House
14    Counsel or Expert unless, within 14 days of delivering the request, the Party receives a written objection
15    from the Designating Party. Any such objection must set forth in detail the grounds on which it is based.
16                 (c) A Party that receives a timely written objection must meet and confer with the Designating
17    Party (through direct voice to voice dialogue) to try to resolve the matter by agreement within seven days
18    of the written objection. If no agreement is reached, the Party seeking to make the disclosure to Designated
19    House Counsel or the Expert may file a motion as provided in Civil Local Rule 7 (and in compliance with
20    Civil Local Rule 79-5, if applicable) seeking permission from the court to do so. Any such motion must
21    describe the circumstances with specificity, set forth in detail the reasons why disclosure to Designated
22    House Counsel or the Expert is reasonably necessary, assess the risk of harm that the disclosure would
23    entail, and suggest any additional means that could be used to reduce that risk. In addition, any such
24    motion must be accompanied by a competent declaration describing the parties’ efforts to resolve the
25

26
      2
        If the Expert believes any of this information is subject to a confidentiality obligation to a third-party, then the
27    Expert should provide whatever information the Expert believes can be disclosed without violating any
      confidentiality agreements, and the Party seeking to disclose to the Expert shall be available to meet and confer with
28    the Designating Party regarding any such engagement.


                                                                                                                          11
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page20
                                                                  13ofof31
                                                                  21     19
                                                                         32



 1    matter by agreement (i.e., the extent and the content of the meet and confer discussions) and setting forth
 2    the reasons advanced by the Designating Party for its refusal to approve the disclosure.
 3                   In any such proceeding, the Party opposing disclosure to Designated House Counsel or the
 4    Expert shall bear the burden of proving that the risk of harm that the disclosure would entail (under the
 5    safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected Material to its
 6    Designated House Counsel or Expert.
 7    8.         PROSECUTION BAR
 8                        Absent written consent from the Producing Party, any individual who receives access to
 9    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –
10    SOURCE CODE” information shall not be involved in the prosecution of patents or patent applications
11    relating to the subject matter of this action, including without limitation the patents asserted in this action
12    and any patent or application claiming priority to or otherwise related to the patents asserted in this action,
13    before any foreign or domestic agency, including the United States Patent and Trademark Office (“the
14    Patent Office”). For purposes of this paragraph, “prosecution” includes directly or indirectly drafting,
15    amending, advising, or otherwise affecting the scope or maintenance of patent claims. 3 To avoid any
16    doubt, “prosecution” as used in this paragraph does not include representing a party challenging a patent
17    before a domestic or foreign agency (including, but not limited to, a reissue protest, ex parte reexamination
18    or inter partes reexamination). This Prosecution Bar shall begin when access to “HIGHLY
19    CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE”
20    information is first received by the affected individual and shall end two (2) years after final termination of
21    this action.
22    9.         SOURCE CODE
23                   (a) To the extent production of source code becomes necessary in this case, a Producing Party
24    may designate source code as “HIGHLY CONFIDENTIAL – SOURCE CODE” if it comprises or
25    includes confidential, proprietary or trade secret source code.
26                   (b) Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE CODE” shall
27

28    3
          Prosecution includes, for example, original prosecution, reissue and reexamination proceedings.


                                                                                                                    12
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page21
                                                                  14ofof31
                                                                  22     19
                                                                         32



 1    be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 2    ONLY” information, including the Prosecution Bar set forth in Paragraph 8, and may be disclosed only to
 3    the individuals to whom “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information may
 4    be disclosed, as set forth in Paragraphs 7.3 and 7.4, with the exception of Designated House Counsel.
 5                (c) Any source code produced in discovery shall be made available for inspection, in a format
 6    allowing it to be reasonably reviewed and searched, during normal business hours or at other mutually
 7    agreeable times, at an office of the Producing Party’s counsel or another mutually agreed upon location.
 8    The source code shall be made available for inspection on a secured computer in a secured room without
 9    Internet access or network access to other computers, and the Receiving Party shall not copy, remove, or
10    otherwise transfer any portion of the source code onto any recordable media or recordable device. The
11    Producing Party may visually monitor the activities of the Receiving Party’s representatives during any
12    source code review, but only to ensure that there is no unauthorized recording, copying, or transmission of
13    the source code.
14                (d) The Receiving Party may request paper copies of limited portions of source code that are
15    reasonably necessary for the preparation of court filings, pleadings, expert reports, or other papers, or for
16    deposition or trial, but shall not request paper copies for the purpose of reviewing the source code other
17    than electronically as set forth in paragraph (c) in the first instance. The Producing Party shall provide all
18    such source code in paper form, including bates numbers and the label “HIGHLY CONFIDENTIAL –
19    SOURCE CODE.” The Producing Party may challenge the amount of source code requested in hard copy
20    form pursuant to the dispute resolution procedure and timeframes set forth in Paragraph 6 whereby the
21    Producing Party is the “Challenging Party” and the Receiving Party is the “Designating Party” for
22    purposes of dispute resolution.
23                (e) The Receiving Party shall maintain a record of any individual who has inspected any
24    portion of the source code in electronic or paper form. The Receiving Party shall maintain all paper copies
25    of any printed portions of the source code in a secured, locked area. The Receiving Party shall not create
26    any electronic or other images of the paper copies and shall not convert any of the information contained
27    in the paper copies into any electronic format. The Receiving Party shall only make additional paper
28    copies if such additional copies are (1) necessary to prepare court filings, pleadings, or other papers

                                                                                                                   13
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page22
                                                                  15ofof31
                                                                  23     19
                                                                         32



 1    (including a testifying expert’s expert report), (2) necessary for deposition, or (3) otherwise necessary for
 2    the preparation of its case. Any paper copies used during a deposition shall be retrieved by the Producing
 3    Party at the end of each day and must not be given to or left with a court reporter or any other
 4    unauthorized individual.
 5    10.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
               LITIGATION
 6

 7             If a Party is served with a subpoena or a court order issued in other litigation that compels

 8    disclosure of any information or items designated in this action as “CONFIDENTIAL,” “HIGHLY

 9    CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE

10    CODE,” that Party must:

11                  (a) promptly notify in writing the Designating Party. Such notification shall include a copy of

12    the subpoena or court order;

13                  (b) promptly notify in writing the party who caused the subpoena or order to issue in the other

14    litigation that some or all of the material covered by the subpoena or order is subject to this Protective

15    Order. Such notification shall include a copy of this Protective Order; and

16                  (c) cooperate with respect to all reasonable procedures sought to be pursued by the

17    Designating Party whose Protected Material may be affected.4

18             If the Designating Party timely seeks a protective order, the Party served with the subpoena or

19    court order shall not produce any information designated in this action as “CONFIDENTIAL,” “HIGHLY

20    CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” or “HIGHLY CONFIDENTIAL – SOURCE CODE”

21    before a determination by the court from which the subpoena or order issued, unless the Party has obtained

22    the Designating Party’s permission. The Designating Party shall bear the burden and expense of seeking

23    protection in that court of its confidential material – and nothing in these provisions should be construed as

24    authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from another

25    court.

26
27    4
       The purpose of imposing these duties is to alert the interested parties to the existence of this Protective Order and to
      afford the Designating Party in this case an opportunity to try to protect its confidentiality interests in the court from
28    which the subpoena or order issued.


                                                                                                                             14
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page23
                                                                  16ofof31
                                                                  24     19
                                                                         32



      11.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS
 1
               LITIGATION
 2
                    (a) The terms of this Order are applicable to information produced by a Non-Party in this
 3
      action and designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 4
      ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such information produced by Non-Parties
 5
      in connection with this litigation is protected by the remedies and relief provided by this Order. Nothing in
 6
      these provisions should be construed as prohibiting a Non-Party from seeking additional protections.
 7
                    (b) In the event that a Party is required, by a valid discovery request, to produce a Non-Party’s
 8
      confidential information in its possession, and the Party is subject to an agreement with the Non-Party not
 9
      to produce the Non-Party’s confidential information, then the Party shall:
10
                        1.        promptly notify in writing the Requesting Party and the Non-Party that some or
11
      all of the information requested is subject to a confidentiality agreement with a Non-Party;
12
                        2.        promptly provide the Non-Party with a copy of the Protective Order in this
13
      litigation, the relevant discovery request(s), and a reasonably specific description of the information
14
      requested; and
15
                        3.        make the information requested available for inspection by the Non-Party.
16
                    (c) If the Non-Party fails to object or seek a protective order from this court within 14 days of
17
      receiving the notice and accompanying information, the Receiving Party may produce the Non-Party’s
18
      confidential information responsive to the discovery request. If the Non-Party timely seeks a protective
19
      order, the Receiving Party shall not produce any information in its possession or control that is subject to
20
      the confidentiality agreement with the Non-Party before a determination by the court.5 Absent a court
21
      order to the contrary, the Non-Party shall bear the burden and expense of seeking protection in this court
22
      of its Protected Material.
23
      12.      UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
24
               If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected Material
25
      to any person or in any circumstance not authorized under this Protective Order, the Receiving Party must
26
27
      5
       The purpose of this provision is to alert the interested parties to the existence of confidentiality rights of a Non-
28    Party and to afford the Non-Party an opportunity to protect its confidentiality interests in this court.


                                                                                                                               15
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page24
                                                                  17ofof31
                                                                  25     19
                                                                         32



 1    immediately (a) notify in writing the Designating Party of the unauthorized disclosures, (b) use its best
 2    efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the person or persons to
 3    whom unauthorized disclosures were made of all the terms of this Order, and (d) request such person or
 4    persons to execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
 5    A.
 6    13.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
              MATERIAL
 7

 8            When a Producing Party gives notice to Receiving Parties that certain inadvertently produced

 9    material is subject to a claim of privilege or other protection, the obligations of the Receiving Parties are

10    those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify

11    whatever procedure may be established in an e-discovery order that provides for production without prior

12    privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an

13    agreement on the effect of disclosure of a communication or information covered by the attorney-client

14    privilege or work product protection, the parties may incorporate their agreement in a stipulated protective

15    order submitted to the court.

16    14.     MISCELLANEOUS

17            14.1     Right to Further Relief. Nothing in this Order abridges the right of any person to seek its

18    modification by the court in the future.

19            14.2     Right to Assert Other Objections. No Party waives any right it otherwise would have to

20    object to disclosing or producing any information or item on any ground not addressed in this Protective

21    Order. Similarly, no Party waives any right to object on any ground to use in evidence of any of the

22    material covered by this Protective Order.

23            14.3     Export Control. Disclosure of Protected Material shall be subject to all applicable laws

24    and regulations relating to the export of technical data contained in such Protected Material, including the

25    release of such technical data to foreign persons or nationals in the United States or elsewhere. The

26    Producing Party shall be responsible for identifying any such controlled technical data, and the Receiving

27    Party shall take measures necessary to ensure compliance.

28            14.4     Filing Protected Material. Without written permission from the Designating Party or a

                                                                                                                      16
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page25
                                                                  18ofof31
                                                                  26     19
                                                                         32



 1    court order secured after appropriate notice to all interested persons, a Party may not file in the public
 2    record in this action any Protected Material. A Party that seeks to file under seal any Protected Material
 3    must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to a
 4    court order authorizing the sealing of the specific Protected Material at issue. Pursuant to Civil Local Rule
 5    79-5, a sealing order will issue only upon a request establishing that the Protected Material at issue is
 6    privileged, protectable as a trade secret, or otherwise entitled to protection under the law. If a Receiving
 7    Party's request to file Protected Material under seal pursuant to Civil Local Rule 79-5(e) is denied by the
 8    court, then the Receiving Party may file the Protected Material in the public record pursuant to Civil Local
 9    Rule 79-5(e)(2) unless otherwise instructed by the court.
10    15.     FINAL DISPOSITION
11            Within 60 days after the final disposition of this action, as defined in paragraph 4, each Receiving
12    Party must return all Protected Material to the Producing Party or destroy such material. As used in this
13    subdivision, “all Protected Material” includes all copies, abstracts, compilations, summaries, and any other
14    format reproducing or capturing any of the Protected Material. Whether the Protected Material is returned
15    or destroyed, the Receiving Party must submit a written certification to the Producing Party (and, if not the
16    same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by category,
17    where appropriate) all the Protected Material that was returned or destroyed and (2) affirms that the
18    Receiving Party has not retained any copies, abstracts, compilations, summaries or any other format
19    reproducing or capturing any of the Protected Material. Notwithstanding this provision, Counsel are
20    entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
21    legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work product, and
22    consultant and expert work product, even if such materials contain Protected Material. Any such archival
23    copies that contain or constitute Protected Material remain subject to this Protective Order as set forth in
24    Section 4 (DURATION).
25    IT IS SO ORDERED.
26
      DATED: ________________________ _____________________________________
27
                                             [Name of Judge]
28                                           United States District/Magistrate Judge


                                                                                                                     17
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-4
                                      2673-2
                                       2674 Filed
                                             Filed06/11/18
                                                   06/07/18 Page
                                                   06/03/19  Page26
                                                                  19ofof31
                                                                  27     19
                                                                         32



 1                                                    EXHIBIT A
 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3                    I, _____________________________ [print or type full name], of _________________
 4    [print or type full address], declare under penalty of perjury that I have read in its entirety and understand
 5    the Protective Order that was issued by the United States District Court for the Northern District of
 6    California on _______ [date] in the case of ___________ [insert formal name of the case and the
 7    number and initials assigned to it by the court]. I agree to comply with and to be bound by all the terms
 8    of this Protective Order, and I understand and acknowledge that failure to so comply could expose me to
 9    sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in any
10    manner any information or item that is subject to this Protective Order to any person or entity except in
11    strict compliance with the provisions of this Order.
12                    I further agree to submit to the jurisdiction of the United States District Court for the
13    Northern District of California for the purpose of enforcing the terms of this Protective Order, even if such
14    enforcement proceedings occur after termination of this action.
15                    I hereby appoint __________________________ [print or type full name] of
16    _______________________________________ [print or type full address and telephone number] as my
17    California agent for service of process in connection with this action or any proceedings related to
18    enforcement of this Protective Order.
19
20    Date: _________________________________
21    City and State where sworn and signed: _________________________________
22
      Printed name: ______________________________
23                   [printed name]

24    Signature: __________________________________
                     [signature]
25

26
27

28

                                                                                                                 18
Case
 Case
 Case3:17-cv-00939-WHA
      3:17-cv-00939-WHA
      3:17-cv-00939-WHA Document
                         Document
                         Document2701-4
                                  2674
                                  2673-3Filed
                                         Filed
                                           Filed
                                               06/11/18
                                                06/03/19
                                                 06/07/18Page
                                                          Page
                                                           Page
                                                              27
                                                               28
                                                                1ofof31
                                                                      5
                                                                      32




                EXHIBIT B
     Case
      Case
      Case
       Case
          3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHADocument
                              Document
                              Document
                               Document
                                      2701-4
                                       2674
                                       2673-3
                                        2671 Filed
                                              Filed
                                              Filed
                                                Filed
                                                    06/11/18
                                                     06/03/19
                                                     04/09/18
                                                      06/07/18Page
                                                               Page
                                                               Page
                                                                Page
                                                                   28
                                                                    29
                                                                    12ofof31
                                                                          45
                                                                           32



 1    [COUNSEL LISTED ON SIGNATURE PAGE]
 2

 3

 4

 5

 6

 7

 8

 9
10                              UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12                                 SAN FRANCISCO DIVISION

13    WAYMO LLC,                                  CASE NO. 3:17-cv-00939-WHA
14                Plaintiff,                      JOINT STIPULATION AND
                                                  [PROPOSED] ORDER TO EXTEND
15          vs.                                   THE DEADLINE UNDER
                                                  PARAGRAPH 15 OF THE INTERIM
16    UBER TECHNOLOGIES, INC. and                 MODEL PROTECTIVE ORDER
      OTTOMOTTO LLC,
17
                  Defendants,
18

19

20

21

22

23

24

25

26

27
28

           JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
     Case
      Case
      Case
       Case
          3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHADocument
                              Document
                              Document
                               Document
                                      2701-4
                                       2674
                                       2673-3
                                        2671 Filed
                                              Filed
                                              Filed
                                                Filed
                                                    06/11/18
                                                     06/03/19
                                                     04/09/18
                                                      06/07/18Page
                                                               Page
                                                               Page
                                                                Page
                                                                   29
                                                                    30
                                                                    23ofof31
                                                                          45
                                                                           32



 1           Pursuant to Civil Local Rules 6-1(b) and 6-2(a), and upon the accompanying declaration
 2    of Meredith R. Dearborn, dated April 6, 2018 (“Dearborn Decl.”), Plaintiff Waymo LLC and
 3    Defendants Uber Technologies, Inc. and Ottomotto LLC hereby stipulate and agree to the
 4    following sixty-day extension, from April 10, 2018 until June 11, 2018, of the deadline to comply
 5    with the requirements of Paragraph 15 of the Interim Model Protective Order:
 6           1.      On March 16, 2017, the Court ordered that the parties be bound by the Interim
 7    Model Protective Order (the “Protective Order”), a true and correct copy of which is attached as
 8    Exhibit A to the accompanying declaration of Meredith R. Dearborn, dated April 6, 2018. See
 9    Dearborn Decl. ¶ 2.
10           2.      Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the
11    final disposition of this action, as defined in paragraph 4, each Receiving Party must return all
12    Protected Material to the Producing Party or destroy such material,” and further requires each
13    Receiving Party to certify in writing by the 60-day deadline (1) that all of the material subject to
14    the Protective Order was returned or destroyed, and (2) that it has not retained copies, abstracts,
15    compilations, or summaries of material subject to the Protective Order. See Dearborn Decl., ¶ 3
16    and Ex. A.
17           3.      The parties settled this lawsuit, and a final disposition was entered on February 9,
18    2018. See Dearborn Decl. ¶ 4.
19           4.      Each Receiving Party, as defined by Paragraph 2.17 of the Protective Order, has
20    sixty days from that final disposition, until April 10, 2018, to comply with the requirements of
21    Paragraph 15. See Dearborn Decl. ¶ 4 and Ex. A.
22           5.      The pendency of related matters impose document preservation obligations on the
23    parties that conflict with Paragraph 15’s requirements. See Dearborn Decl. ¶ 5.
24           6.      The parties agree that additional time is therefore needed to satisfy conflicting
25    preservation obligations, and that it is possible the parties might hereafter request additional time
26    if those obligations have not been satisfied. See id.
27    //
28    //
                                                  1
            JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                    CASE NO. 3:17-CV-00939-WHA
     Case
      Case
      Case
       Case
          3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHADocument
                              Document
                              Document
                               Document
                                      2701-4
                                       2674
                                       2673-3
                                        2671 Filed
                                              Filed
                                              Filed
                                                Filed
                                                    06/11/18
                                                     06/03/19
                                                     04/09/18
                                                      06/07/18Page
                                                               Page
                                                               Page
                                                                Page
                                                                   30
                                                                    31
                                                                    34ofof31
                                                                          45
                                                                           32



 1          IT IS SO STIPULATED
 2

 3    DATED: April 6, 2018              QUINN EMANUEL URQUHART & SULLIVAN LLP
 4
                                        By:   /s/ David A. Perlson
 5                                            David A. Perlson
 6                                            Attorney for Plaintiff WAYMO LLC

 7

 8    DATED: April 6, 2018              BOIES SCHILLER FLEXNER LLP
 9

10                                      By:   /s/ Meredith R. Dearborn
                                              Meredith R. Dearborn
11                                            Attorney for Defendants UBER TECHNOLOGIES,
                                              INC. and OTTOMOTTO LLC
12

13

14

15    PURSUANT TO STIPULATION, IT IS SO ORDERED.

16

17
      DATED:       April 9     , 2018
18                                                  The Honorable William H. Alsup
19

20

21

22

23

24

25

26

27
28
                                                 2
           JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
     Case
      Case
      Case
       Case
          3:17-cv-00939-WHA
           3:17-cv-00939-WHA
           3:17-cv-00939-WHA
            3:17-cv-00939-WHADocument
                              Document
                              Document
                               Document
                                      2701-4
                                       2674
                                       2673-3
                                        2671 Filed
                                              Filed
                                              Filed
                                                Filed
                                                    06/11/18
                                                     06/03/19
                                                     04/09/18
                                                      06/07/18Page
                                                               Page
                                                               Page
                                                                Page
                                                                   31
                                                                    32
                                                                    45ofof31
                                                                          45
                                                                           32



 1                                    SIGNATURE ATTESTATION
 2           Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the
 3    filing of this document has been obtained from any other signatory to this document.
 4

 5    DATED: April 6, 2018                         By: /s/ Meredith R. Dearborn
                                                       Meredith R. Dearborn
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                  3
            JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                    CASE NO. 3:17-CV-00939-WHA
Case 3:17-cv-00939-WHA Document 2701-5 Filed 06/03/19 Page 1 of 5




                 EXHIBIT D
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-5
                                       2684 Filed
                                             Filed10/09/18
                                                   06/03/19 Page
                                                             Page12ofof45



 1   [COUNSEL LISTED ON SIGNATURE PAGE]

 2

 3

 4

 5

 6

 7

 8

 9

10                              UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12                                 SAN FRANCISCO DIVISION

13   WAYMO LLC,                                   CASE NO. 3:17-cv-00939-WHA

14                Plaintiff,                      THIRD JOINT STIPULATION AND
                                                  [PROPOSED] ORDER TO EXTEND
15         vs.                                    THE DEADLINE UNDER
                                                  PARAGRAPH 15 OF THE INTERIM
16   UBER TECHNOLOGIES, INC. and                  MODEL PROTECTIVE ORDER
     OTTOMOTTO LLC,
17
                  Defendants.
18

19
20

21

22

23

24

25
26

27
28
       THIRD JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-5
                                       2684 Filed
                                             Filed10/09/18
                                                   06/03/19 Page
                                                             Page23ofof45



 1           Pursuant to Civil Local Rules 6-1(b) and 6-2(a), and upon the accompanying declaration of

 2   Meredith R. Dearborn, dated October 9, 2018 (“Dearborn Decl.”), Plaintiff Waymo LLC and

 3   Defendants Uber Technologies, Inc. and Ottomotto LLC hereby stipulate and agree to the following

 4   one-hundred-and-twenty-day extension, from October 9, 2018 until February 6, 2019, of the

 5   deadline to comply with the requirements of Paragraph 15 of the Interim Model Protective Order:

 6           1.      On March 16, 2017, the Court ordered that the parties be bound by the Interim

 7   Model Protective Order (the “Protective Order”), a true and correct copy of which is attached as

 8   Exhibit A to the accompanying declaration of Meredith R. Dearborn. See Dearborn Decl. ¶ 3.

 9           2.      Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the final

10   disposition of this action, as defined in paragraph 4, each Receiving Party must return all Protected

11   Material to the Producing Party or destroy such material,” and further requires each Receiving Party

12   to certify in writing by the 60-day deadline (1) that all of the material subject to the Protective Order

13   was returned or destroyed, and (2) that it has not retained copies, abstracts, compilations, or

14   summaries of material subject to the Protective Order. See Dearborn Decl., ¶ 4 and Ex. A.

15           3.      The parties settled this lawsuit, and a final disposition was entered on February 9,

16   2018. See Dearborn Decl. ¶ 5.

17           4.      Each Receiving Party, as defined by Paragraph 2.17 of the Protective Order, had

18   sixty days from that final disposition, until April 10, 2018, to comply with the requirements of

19   Paragraph 15. See Dearborn Decl. ¶ 5 and Ex. A.

20           5.      On April 6, 2018, the parties filed a stipulation and proposed order extending the

21   deadline to comply with Paragraph 15 until June 11, 2018, citing the pendency of related matters

22   that impose document preservation obligations on the parties that conflict with Paragraph 15’s

23   requirements. See Dearborn Decl. ¶ 6. The parties further indicated that they “might hereafter

24   request additional time if those obligations have not been satisfied.” Id.

25           6.      The Court approved the stipulation and signed the proposed order on April 9, 2018.

26   See Dearborn Decl. ¶ 7 and Ex. B.

27
28
                                                 1
        THIRD JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                   CASE NO. 3:17-CV-00939-WHA
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-5
                                       2684 Filed
                                             Filed10/09/18
                                                   06/03/19 Page
                                                             Page34ofof45



 1          7.      On June 7, 2018, the parties filed a second stipulation and proposed order extending

 2   the deadline to comply with Paragraph 15 for another 120 days, until October 9, 2018. See

 3   Dearborn Decl. ¶ 8.

 4          8.      The Court approved the stipulation and entered the proposed order on June 11, 2018.

 5   See Dearborn Decl. ¶ 8 and Ex. C.

 6          9.      The parties agree that additional time is still needed to satisfy conflicting

 7   preservation obligations, and that the parties may still hereafter request additional time if those

 8   obligations have not been satisfied. See Dearborn Decl. ¶ 8.

 9

10

11          IT IS SO STIPULATED

12

13   DATED: October 9, 2018                 QUINN EMANUEL URQUHART & SULLIVAN LLP

14
                                            By:   /s/ David A. Perlson
15                                                David A. Perlson
16                                                Attorneys for Plaintiff WAYMO LLC

17

18   DATED: October 9, 2018                 BOIES SCHILLER FLEXNER LLP
19
                                            By:   /s/ Meredith R. Dearborn         _______
20
                                                  Meredith R. Dearborn
21                                                Attorneys for Defendants UBER TECHNOLOGIES,
                                                  INC. and OTTOMOTTO LLC
22

23

24   PURSUANT TO STIPULATION, IT IS SO ORDERED.
25
26   DATED:          October 9     , 2018
                                                         Honorable William Alsup
27
28
                                                2
       THIRD JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
     Case
      Case3:17-cv-00939-WHA
           3:17-cv-00939-WHA Document
                              Document2701-5
                                       2684 Filed
                                             Filed10/09/18
                                                   06/03/19 Page
                                                             Page45ofof45



 1                                   SIGNATURE ATTESTATION

 2          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3   filing of this document has been obtained from any other signatory to this document.

 4

 5   DATED: October 9, 2018                       By: /s/ Meredith R. Dearborn ____
                                                      Meredith R. Dearborn
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25
26

27
28
                                                3
       THIRD JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
Case 3:17-cv-00939-WHA Document 2701-6 Filed 06/03/19 Page 1 of 5




            EXHIBIT E
          Case
           Case3:17-cv-00939-WHA
                3:17-cv-00939-WHA Document
                                   Document2701-6
                                            2698 Filed
                                                  Filed02/05/19
                                                        06/03/19 Page
                                                                  Page12ofof45


 1   [COUNSEL LISTED ON SIGNATURE PAGE]

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12                             UNITED STATES DISTRICT COURT

13                            NORTHERN DISTRICT OF CALIFORNIA

14                                SAN FRANCISCO DIVISION

15

16
     WAYMO LLC,                                CASE NO. 3:17-cv-00939-WHA
17
                 Plaintiff,                    FOURTH JOINT STIPULATION AND
18                                             [PROPOSED] ORDER TO EXTEND
                                               THE DEADLINE UNDER PARAGRAPH
          vs.                                  15 OF THE INTERIM MODEL
19
                                               PROTECTIVE ORDER
     UBER TECHNOLOGIES, INC. and
20
     OTTOMOTTO LLC,
21
                 Defendants.
22

23

24

25

26

27

28


       FOURTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
              Case
               Case3:17-cv-00939-WHA
                    3:17-cv-00939-WHA Document
                                       Document2701-6
                                                2698 Filed
                                                      Filed02/05/19
                                                            06/03/19 Page
                                                                      Page23ofof45


 1            Pursuant to Civil Local Rules 6-1(b) and 6-2(a), and upon the accompanying declaration

 2   of Meredith R. Dearborn, dated February 1, 2019 (“Dearborn Decl.”), Plaintiff Waymo LLC and

 3   Defendants Uber Technologies, Inc. and Ottomotto LLC hereby stipulate and agree to the

 4   following one-hundred-and-twenty-day extension, from February 6, 2019 until June 6, 2019, of

 5   the deadline to comply with the requirements of Paragraph 15 of the Interim Model Protective

 6   Order:

 7            1.     On March 16, 2017, the Court ordered that the parties be bound by the Interim

 8   Model Protective Order (the “Protective Order”), a true and correct copy of which is attached as

 9   Exhibit A to the accompanying declaration of Meredith R. Dearborn. See Dearborn Decl. ¶ 3.

10            2.     Paragraph 15 of the Protective Order provides that, “[w]ithin 60 days after the final

11   disposition of this action, as defined in paragraph 4, each Receiving Party must return all Protected

12   Material to the Producing Party or destroy such material,” and further requires each Receiving

13   Party to certify in writing by the 60-day deadline (1) that all of the material subject to the Protective

14   Order was returned or destroyed, and (2) that it has not retained copies, abstracts, compilations, or

15   summaries of material subject to the Protective Order. See Dearborn Decl., ¶ 4 and Ex. A.

16            3.     The parties settled this lawsuit, and a final disposition was entered on February 9,

17   2018. See Dearborn Decl. ¶ 5.

18            4.     Each Receiving Party, as defined by Paragraph 2.17 of the Protective Order, had

19   sixty days from that final disposition, until April 10, 2018, to comply with the requirements of

20   Paragraph 15. See Dearborn Decl. ¶ 5 and Ex. A.

21            5.     On April 6, 2018, the parties filed a stipulation and proposed order extending the

22   deadline to comply with Paragraph 15 until June 11, 2018, citing the pendency of related matters

23   that impose document preservation obligations on the parties that conflict with Paragraph 15’s

24   requirements. See Dearborn Decl. ¶ 6. The parties further indicated that they “might hereafter

25   request additional time if those obligations have not been satisfied.” Id.

26            6.     The Court approved the stipulation and signed the proposed order on April 9, 2018.

27   See Dearborn Decl. ¶ 7 and Ex. B.

28            7.     On June 7, 2018, the parties filed a second stipulation and proposed order extending

                                                1
       FOURTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
           Case
            Case3:17-cv-00939-WHA
                 3:17-cv-00939-WHA Document
                                    Document2701-6
                                             2698 Filed
                                                   Filed02/05/19
                                                         06/03/19 Page
                                                                   Page34ofof45


 1   the deadline to comply with Paragraph 15 for another 120 days, until October 9, 2018. See

 2   Dearborn Decl. ¶ 8.

 3          8.      The Court approved the stipulation and entered the proposed order on June 11,

 4   2018. See Dearborn Decl. ¶ 8 and Ex. C.

 5          9.      On October 9, 2018, the parties filed a third stipulation and proposed order

 6   extending the deadline to comply with Paragraph 15 for another 120 days, until February 6, 2019.

 7   See Dearborn Decl. ¶ 8.

 8          10.     The Court approved the stipulation and entered the proposed order on October 9,

 9   2018. See Dearborn Decl. ¶ 9 and Ex. D.

10          11.     The parties agree that additional time is still needed to satisfy conflicting

11   preservation obligations, and that the parties may still hereafter request additional time if those

12   obligations have not been satisfied. See Dearborn Decl. ¶ 10.

13          IT IS SO STIPULATED

14

15   DATED: February 4, 2019                QUINN EMANUEL URQUHART & SULLIVAN LLP

16
                                            By:   /s/ David A. Perlson
17                                                David A. Perlson
                                                  Attorneys for Plaintiff WAYMO LLC
18

19

20   DATED: February 4, 2019                BOIES SCHILLER FLEXNER LLP
21

22                                          By:   /s/ Meredith R. Dearborn         _______
                                                  Meredith R. Dearborn
23                                                Attorneys for Defendants UBER TECHNOLOGIES,
                                                  INC. and OTTOMOTTO LLC
24

25   PURSUANT TO STIPULATION, IT IS SO ORDERED.

26
     DATED:          February 5    , 2019
27
                                                          Honorable William Alsup
28

                                                2
       FOURTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
           Case
            Case3:17-cv-00939-WHA
                 3:17-cv-00939-WHA Document
                                    Document2701-6
                                             2698 Filed
                                                   Filed02/05/19
                                                         06/03/19 Page
                                                                   Page45ofof45


 1                                   SIGNATURE ATTESTATION

 2          Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3   filing of this document has been obtained from any other signatory to this document.

 4

 5   DATED: February 4, 2019                      By: /s/ Meredith R. Dearborn ____

 6                                                                      Meredith R. Dearborn

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                3
       FOURTH JOINT STIPULATION RE EXTENSION OF INTERIM MODEL PROTECTIVE ORDER DEADLINE
                                  CASE NO. 3:17-CV-00939-WHA
